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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



   In re CELGENE CORPORATION                           Civil Action No. l 8-cv-04 772 (MEF) (JBC)
   SECURITIES LITIGATION

                                                           FINAL PRETRIAL ORDER


                                                           JURY TRIAL DEMANDED



         This matter having come before the Court for a pretrial conference pursuant to Fed. R. Civ.

  P. 16; and James E. Cecchi, Matthew L. Mustokoff, Margaret E. Mazzeo, Jamie M. McCall, Nathan

  A. Hasiuk, Salvatore J. Graziano, Adam H. Wierzbowski, Robert F. Kravetz, and Aasiya F. Mirza

  Glover having appeared for Lead Plaintiff and Class Representative AMF Tjanstepension AB

 ("AMF" or "Plaintiff') and the certified Class, and Lawrence S. Lustberg, Kate E. Janukowicz,

  Robert C. Micheletto, Nidhi Yadava, Rajeev Muttreja, Sarah D. Efronson, Andrew B. Clubok,

  Michele D. Johnson, Susan E. Engel, and Kevin M. McDonough having appeared for Defendants

  Celgene Corporation, Terrie Curran and Philippe Martin; the following Final Pretrial Order is

  hereby entered:


 I.      JURISDICTION (set forth specifically).

         I.     Plaintiff's claims arise under Sections I0(b) of the Exchange Act, 15 U.S .C.

 § 78j(b), and SEC Rule l0b-5, 17 C.F.R. § 240.l0b-5 promulgated thereunder. This Court has

 jurisdiction over the subject matter of this action pursuant to 28 U.S.C. § I 33 I and Section 27 of

 the Exchange Act, 15 U.S.C. § 78aa.

 II.     PENDING/CONTEMPLATED MOTIONS (Set forth all pending or contemplated
         motions, whether dispositive or addressed to discovery or to the calendar. Also, set forth
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        the nature of the motion and the return date. If the Court indicated that it would rule on
        any matter at pretrial, summarize that matter and each party's position).

         There is one pending motion: Defendants' Motion to Bifurcate Trial (D.E. 352). The

 parties' contemplated motions consist of the following:

         A.     Plaintiff:

         1.     Motion to bifurcate the trial into two phases- one that addresses common

  class-wide issues (including Defendants' liability and the measure of class-wide per-share

  damages) ("Phase One"), and, if necessary, a second phase that addresses class member-specific

  individualized issues ("Phase Two"), and, as a result to preclude any reference, evidence or

  argument concerning:

                a.         individualized reliance issues (including as to AMF and its representatives)

         or anything relating to individualized issues in the Phase One trial;

                b.         the Class's or AMF's actual or estimated aggregate damages;

                c.         AMF's trades in Celgene, AMF's individual investments, investment

         decisions, investment strategies, and/or history with respect to Celgene or non-Celgene

         securities or investments;

                d.         the absence of representatives of AMF testifying at the trial;

                e.         AMF's retention, portfolio monitoring, or attorneys' fee arrangements;

                f.         AMF's selection of counsel;

                g.         AMF's size, assets under management, financial condition or alleged

         sophistication;

                h.         AMF's residence or location or the characteristics of any individual Class

         members;

                 1.        AMF's or its counsel's political contributions;


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                J.      AMF's or its counsel's involvement in other litigation;

         2.      Motion to exclude any reference, evidence, or argument regarding irrelevant and

  prejudicial post-Class Period events, including any reference, evidence, or argument about:

                 a.     the features of Otezla that made it suited to help patients during a pandemic;

                 b.     Otezla's post-Class Period sales and revenues, patient feedback or other

         performance or commercial or medical success;

                 c.     any new medications that came into existence after the end of the Class

         Period and that do not concern or relate to information in Defendants' possession during

         the Class Period or statements made by Defendants during the Class Period; and

                 d.     the circumstances of Bristol-Myers Squibb's acquisition of Celgene or

         Amgen's acquisition of Otezla, including:

                        1.      the price Bristol-Myers Squibb paid to acquire Celgene or that

         Bristol-Myers Squibb's acqu isition of Celgene is in any way an indication or testament to

         the supposed success, propriety and/or honesty with which Celgene conducted and/or ran

         its business prior to being acquired; and

                         ii.    the price paid by Amgen for Otezla, Otezla's sales and revenues

         generated post-acquisition, or otherwise arguing about the commercial or medical success

         of the drug after Amgen's acquisition.

         3.      Motion to exclude certain irrelevant reference, evidence, or argument concerning:

                 a.      Celgene's, Bristol-Myers Squibb's, and any former Celgene employees'

          (including Defendant Curran 's and Defendant Martin's) alleged good works, commitment

          to patient safety, life-saving efforts or products, non-relevant scientific research and

          development efforts or expenditures, charitable contributions, and/or character;



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                 b.      the number of persons that Celgene employed, or the size of its operations

          pnor to and during the Class Period, including in New Jersey, and the same for

          Bristol-Myers Squibb since the Class Period and currently;

                 c.      the effect that a judgment for the Class might have on Bristol-Myers Squibb

          or Defendants Curran and Martin, the ability of patients to purchase or have available

          medications, the cost of medicine or insurance, the viability of the pharmaceutical industry,

          or that a judgment against Defendants may result in layoffs, financial or personal hardships,

          or people losing their jobs; and

                 d.      any purported "litigation crisis," "lawsuit crisis," "lawsuit abuse," "lawyer

          driven litigation" or similar terms or phrases, or attacks on the integrity of Plaintiff's

          counsel or references to the conduct of Plaintiff's counsel unrelated to this litigation.

          4.     Motion to preclude argument denigrating AMF due to its status as a foreign pension

  fund.

          5.      Motion to preclude reference, evidence or argument concerning (i) allegations in

  any complaint filed in this action, including the Second Amended Complaint or Third Amended

  Complaint, (ii) the fact that any claims, legal theories, or defendants have been dismissed from

  this Action and (iii) any claims or legal theories that Plaintiff has abandoned and/or modified.

          6.      Motion to preclude reference, evidence or argument concerning any affirmative

  defenses not asserted in Defendants' Answer, including any evidence or argument regarding

  reliance on counsel or outside accountants.

          7.      Motion to preclude reference, evidence or argument that Ms. Betty Jean Swartz was

  terminated from her employment at Celgene or regarding the circumstances of her departure.




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         8.     Motion to preclude reference, evidence, or argument that Ozanimod is efficacious

 or safe as irrelevant to the alleged misrepresentations and omissions about Ozanimod made by

  Defendants in 2017 and 2018.

         9.     Motion to preclude reference, evidence, or argument regarding AMF's alleged loss

  of evidence from personnel who had roles regarding AMF's investment decision-making.

         10.    Motion to preclude reference, evidence, or argument that Defendants' statements

  related to Otezla or Ozanimod were forward-looking, accompanied by meaningful cautionary

  language, or otherwise protected under the PSLRA's safe harbor for forward-looking statements.

         I I.    Motion to exclude the summary judgment declaration of Defendant Terrie Curran

  and to preclude reference, evidence, or argument concerning the declaration.

         12.     Motion to preclude reference, evidence, or argument that Defendants did not violate

  Section I 0(b) or Rule I 0b-5 because the Ozanimod rNDA was ultimately approved by the FDA.

         13.     Motion to depose Defendants' trial witnesses who were not been deposed during

  fact discovery, including Maria Palmisano, Gondi Kumar, Russell Katz, and Marcie Wood.

         14.     Motion regarding the introduction and scope of deposition designations pursuant to

  Federal Rule of Civil Procedure 32.

         15.     Motion to govern trial procedures, including:

                 a.      to sequester or exclude non-party fact witnesses from the courtroom (except

         while testifying) during trial, and to preclude these same witnesses from reading transcripts

         or discussing the proceedings with Defendants or Defendants' counsel or their agents while

         the trial is in progress;

                 b.      to permit lead ing questions of a hostile witness, an adverse party, or a

         witness identified with an adverse party;



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                c.      to re-call Plaintiff's Document Reader as needed throughout the trial; and

                d.      to preclude the parties, their counsel and their agents from speaking with

         any witnesses while the witnesses are under examination.

         16.    Plaintiff also anticipates filing motions to limit or preclude portions of Defendants'

 experts' testimony as described below in Section IX.D.

         B.     Defendants:

         1.     Motion to dism iss AMF's asserted Ozanimod claims and de-certify Plaintiff as class

  representative for Plaintiff's Ozanimod claims becaus.e Plaintiff, having not purchased any shares

 of Celgene stock prior to any of Plaintiff's remaining alleged misstatements or om issions related

  to Ozanimod following the Court's summary judgment ruling, see Dkt. No. 310, lacks standing to

 pursue its Ozanimod claims and is not an adequate class representative, and/or a motion to re-open

  discovery to seek documents and testimony regarding AMF Fonder AB's purchases and

  investments in and related to Celgene securities and the purported assignment to Plaintiff of AMF

  Fonder AB's alleged claim in this action.

         2.      Motions to exclude certain irrelevant reference, evidence, or argument concerning :

                 a.     The Individual Defendants' assets or wealth;

                 b.     Agreements, policies or other arrangements providing liability coverage or

         indemnification to any Defendant;

                 c.     The fact that certain witnesses were former defendants in this lawsuit;

                 d.     The fact that certain witnesses are currently employed at the same

         organization and may have provided assistance to one another in retaining those

         employment positions;

                 e.     The current financial condition of Celgene or Bristol Myers Squ ibb

         ("BMS");
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              f.       The identification of the Ozanimod metabolite prior to June 20 17;

              g.       The alleged falsity of corporate statements that did not survive dismissal or

       summary judgment;

              h.       References to "Big Pharma" or similar pejorative terms to describe Celgene,

       BMS or the pharmaceutical industry generally;

              1.       The April 2018 Morgan Stanley report as an alleged corrective disclosure

       for Ozanimod;

              j.       Statements made by Peter Kellogg and Steven Rosen regarding Wall

       Street's expectations for Otezla;

              k.       The expiration or anticipated expiration of the Revlimid patent, agreements

       for generic sales of Revlimid, and Celgene's revenue attributable to Revlimid;

              I.       The discontinuance of development of GED-301;

              m.       The price difference between brand-name and generic drugs;

              n.       Sales of generic versions of Gilenya as a motive for the alleged misleading

       statements regarding Ozanimod;

              o.       Curran's knowledge about Otezla post-dating her July 201 7 statement,

       including the suggestion that such knowledge is evidence of what Curran knew before her

       July 2017 statement;

               p.      Curran's knowledge about Otezla post-dating her April 2017 statement as

       evidence of what she knew about market share prior to the April 20 17 statement;

               q.      The compensation, including bonuses and other incentive compensation,

        that Defendants and other Celgene personnel received or could have received from

       Celgene;



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                  r.     Any suggestion that the FDA's guidance constitutes binding requirements

         and obligations;

                  s.     Evidence related to AMF Fonder and its assignment of claims in this case.

         3.       Motions to govern trial procedures, including a motion:

                  a.     To issue a jury instruction that Martin's scienter is not a basis for

         determining whether Celgene made any statements with scienter;

                  b.     To issue a jury instruction regarding forward-looking statements and the

         Private Security Litigation Reform Act's ("PSLRA") safe harbor, see 15 U.S.C.

         § 78u-5(c);

                  c.     To issue a jury instruction regarding application of the corporate scienter

         doctrine;

                  d.     To issue a jury instruction regarding Plaintiff's spoliation of relevant

         evidence regarding its decision to invest in Celgene from two of its key employees in

         charge of its investment decisions: its Chief Investment Officer, Javiera Ragmarez, and its

         North America portfolio manager, Ulf Forsberg.

         4.       Defendants also anticipate filing motions to exclude or preclude all or portions of

  anticipated testimony from Plaintiff's proposed expert witnesses as described belo'.v in

  Section IX.B.

  III.   STIPULATION OF FACTS (Set forth in narrative form a comprehensive listing of all
         uncontested facts, including all answers to interrogatories and admissions, to which there
         is agreement among the parties).

         I.       Celgene, a    Delaware corporation      headquartered     111   New   Jersey,   is a

  biopharmaceutical company.

         2.       In 2017 and 2018, the Company operated two primary divisions: (i) the

  Inflammation & Immunology (I&l) franchise, which focused on drugs for treatment of

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  inflammatory diseases, such as psoriasis (PsO), psoriatic arthritis (PsA), ulcerative colitis (UC),

  multiple sclerosis (MS), and Crohn's disease (CD); and (ii) the "Hematology & Oncology"

  franchise, which focused on treatments for blood diseases and cancer.

         3.      During the Class Period, Celgene's common stock traded on the NASDAQ Global

  Select Market under the ticker symbol " CELG."

         4.      Scott Smith was the President of Celgene I&I and the Chairman of the

  Inflammation and Immunology Executive Committee ("IIEC") from 2010 until April 20 17.

         5.      From March 2016 through April 1, 20 17, Terrie Curran served as President of

  Worldwide Markets for Celgene's J&I franchise. From April 2013 to March 2016, Curran served

  as the U.S. Commercial Head of the I&I franchise.

         6.      On April 1, 20 I 7, Smith became President and Chief Operating Officer ("COO")

  of Celgene. At that time, Defendant Curran, who was the President of Worldwide Markets I&I,

  became the President of I&I and the Chairwoman of the IIEC.

         7.      Betty Jean Swartz ("Swartz") was a Vice President of U.S. Market Access at

  Celgene from April 2016 to January 2018.

          8.     Robert Tessarolo ("Tessarolo") served as a Vice President and General Manager of

  I&I at Celgene from September 2015 to April 2017.

          9.     On March 2 1, 2014, Celgene announced that Otezla, a drug Celgene developed and

  commercialized as part of its I&I franchise, was the first oral therapy approved by the U.S. Food

  and Drug Administration (the "FDA") for the treatment of adults with active psoriatic arthritis

  ("PsA").

          10.    On September 23, 2014, the FDA approved Otezla for the treatment of moderate to

  severe plaque psoriasis ("PsO").



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          11.    Psoriasis is an immune-meditated disease (a disease with an unclear cause that is

  characterized by inflammation caused by dysfunction of the immune system) that causes

  inflammation in the body and occurs because the overactive immune system speeds up skin cell

  growth. The National Psoriasis Foundation estimates that psoriasis affects more than 8 million

  people in the U.S. and 125 million people worldwide.

          12.    Psoriatic arthritis is a chronic, inflammatory disease of the joints and where tendons

  and ligaments connect to bone. For many people, psoriatic arthritis starts about 10 years after

  psoriasis develops, but some develop PsA first or without ever developing or noticing psoriasis.

  Psoriatic arthritis affects about 30% of patients with psoriasis.

          13.     On April 27, 20 17, Celgene held a QI 2017 earnings call which was available

  publicly by webcast at www.celgene.com. The earnings call was also transcribed.

          14.     In a press release dated April 27, 20 17, and during the April 27, 2017 earnings call,

  Celgene disclosed that Otezla net sales for Ql 2017 were $242M.

          15.     During the April 27, 2017 earnings call, Celgene presented a slide deck which was

   publicly available to investors and analysts on Celgene's website.

          16.     During the April 27, 2017 earnings call, Carter Gould ("Gould"), an analyst with

   UBS, asked the following question:

                  Good morning, guys. Thanks for taking a question. On OTEZLA, it definitely
                  sounds like you ' re positioning the performance, the seasonal and sort of temporary
                  and I guess, very much in line with what we heard from Amgen last night in the
                  broader segment. Can you just walk through what gives you confidence growth
                  will bounce back or could we see continued pressure in the near term? Thank you.

   In response to Gould's question, Curran stated:

                  Thank you, Carter. Yeah, I think you're spot on. I think there was really three
                  key drivers to the performance in the first quarter. Firstly, we saw contraction in
                  the market as we saw increased GTN as a result of the contracting, but
                  importantly, that really gives us access to double the number of insured lives going
                  forward . And lastly, we saw minimal drawdown of the inventory.

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                Importantly, if we look at the underlying dynamics to the business, they're
                exceptionally strong. If you look at the market share, OTEZLA continues to grow
                market share. We continue to gain more than 40% of new patients and these new
                contracts will give us access to an additional pool of patients moving forward.
                Importantly, if we look at the exit run rates out of quarter one and into quarter two,
                we do see the net sales rebounding and on track to deliver the 2017 guidance.

         17.     On July 27, 2017, Celgene held a Q2 2017 earnings call, which was available

  publicly by webcast at www.celgene.com. The earnings call was also transcribed.

         I 8.    In a public press release dated July 27, 2017, and during the Q2 2017 earnings call,

  Celgene disclosed that Q2 2017 Otezla net sales were $358 million.

         19.     During the July 27, 2017 earnings call, Celgene presented a slide deck which was

  publicly available to investors and analysts on Celgene's website.

         20.     During the July 27, 2017 earnings call, Curran stated as follows, among other

  statements:

                 Q2 was an outstanding quarter for Celgene l&I, highlighted by significant
                 sequential growth for OTEZLA. Key OTEZLA performance indicators continue
                 to strengthen, and market share and prescriber adoption increased significantly in
                 both U.S. and internationally.

                 We announced positive results from RADIANCE, our second Phase Ill trial for
                 ozanimod in MS, and are on track to file the U.S. NDA by year end. We are very
                 pleased with the progress of the program and look forward to the data being
                 presented in an upcoming major medical meeting. Additionally, progress
                 continues for GED-030 I and other important pipeline programs.

                 Global OTEZLA net sales in Q2 was $358 million, which represents growth of
                 49% year on year and 48% versus QI, revenue being driven by continued gains in
                 treatment adoption, geographic expansion and improved market access. With
                 reimbursement now secured across key European markets in Japan, uptake is
                 accelerating rapidly. Ex-U.S. sales have more than doubled versus last year. In
                 addition, we have advanced multiple future growth drivers for OTEZLA, namely
                 initiating enrollment of the Phase III scalp psoriasis trial and completion of
                 enrollment for both the Phase II study in ulcerative colitis, and Phase III trial in
                 Behyet's disease. As a result of continued strong commercial execution, we
                 anticipate continued revenue growth through the second half of the year and
                 expect full year revenue to be in the lower half of the guidance range.



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                 In the U. S., OTEZLA experienced a rebound in revenue underpinned by strong
                 brand fundamentals. We saw an increase in script volume and continue to
                 command a significant leadership position for new-to-brand share in both
                 psoriasis and psoriatic arthritis. Additionally, while it's early, we are pleased to
                 see accelerating growth in the plans we have contracted with to remove biologic
                 step edits.

                 In 2 markets where OTEZLA was recently launched, France and Japan, uptake is
                 already exceeding competitive benchmarks.            In France, we achieved a
                 differentiated access position that enables physicians to prescribe both within and
                 beyond the hospital setting, resulting in OTEZLA surpassing all recent launch
                 analogues in the category. In Japan, unlike biologics, OTEZLA can be prescribed
                 by community dermatologists, which is fundamentally disrupting the treatment
                 paradigm . In just 3 months since launch, OTEZLA has gained 38% of new-to-
                 brand switch patients in this setting.

           21.   The closing price of Celgene's common stock on October 25, 20 17 was $ 119.56

  per share, and the closing price of Celgene's common stock on October 26, 2017 was $99.99 per

  share.

           22.   Multiple sclerosis ("MS") disrupts the normal functioning of the brain, optic nerves,

  and spinal cord through inflammation and tissue loss, causing communication problems between

  the patient's brain and the rest of the body. MS is the most common autoimmune disease of the

  central nervous system, affecting an estimated one million people in the U.S. Most people with

  MS have relapsing MS ("RMS"), which is characterized by a relapsing-remitting disease course,

  whereby a patient's symptoms may remit for a period of time but then relapse.

           23.   The drug Ozanimod was initially developed by Receptos, Inc. ("Receptos"), a San

  Diego, California-based biopharmaceutical company, to treat RMS and Ulcerative Colitis.

           24.   In July 20 15, Celgene entered into an agreement and plan of merger with Receptos,

  pursuant to which Celgene would acquire Receptos and its drug, Ozanimod, which was in Phase

  III clinical trials for the treatment of RMS, for $7.2 billion through a series of merger transactions.

  In August 20 15, Celgene closed its acquisition of Receptos, which resulted in Receptos becoming

  a wholly-owned subsidiary of Celgene. Ozanimod was incorporated into Celgene I&I.

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         25.     Beginning in 2016 and until March 2018, Martin was Celgene's Corporate Vice

  President and the Managing Director of Celgene-Receptos in San Diego.

         26.     Dr. Jay Backstrom ("Backstrom") was the Chief Medical Officer ("CMO") at

  Celgene from 2016 through 2018.

         27.     Matthew Lamb ("Lamb") was Celgene's Vice President and Global Head of

  Regulatory Affairs in I&I from April 2015 to November 2019.

         28.    Jean Louis Saillot, M.D.       ("Saillot"), served as Vice President of Project

  Leadership, Regulatory Affairs, and Clinical Pharmacology at Receptos from November 2016 to

  November 2019.

         29.    Jonathan Tran ("Tran") served as the Executive Director of Clinical Pharmacology

  at Receptos from July 2015 through November 2019.

         30.     Susan Meier-Davis, Ph.D. ("Meier-Davis") was the Senior Director in Pre-Clinical

  Sciences at Receptos from April 2016 to 2018.

         31.    David Kao ("Kao") served as the Senior Director of Regulatory Affairs at Receptos

  from July 2015 to April 2016 and then as the Executive Director of Regulatory Affairs at Receptos

  from May 2016 through April 2020.

         32.    Gerlee Thomas ("Thomas") was the Director of Regulatory Affairs at Receptos

  from July 2016 to March 2018.

         33.    A new drug application ("NDA") is the application through which drug sponsors

  formally propose that the FDA approve a pharmaceutical for sale and marketing in the U.S. for

  one or more specified medical conditions.

         34.    In October 2016, Celgene commenced a radiolabeled mass balance study for

  Ozanimod.



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         35.     On June 22, 201 7, through the mass balance study, Celgene confirmed RP- 11 2273

  as a new Ozanimod metabolite.

         36.     On October 28, 201 7, at the MSParis201 7-7th Joint American-European

  Committee for Treatment and Research in Multiple Sclerosis ("ECTRIMS"), Martin stated, "So

  the RADIANCE studies -- the RADIANCE study and the SUNBEAM study will form the basis

  of our submission to the FDA and to EMA [European Medicines Agency]. For the FDA, we are

  working hard as we speak to get ready to fi le by the end of the year and early next year for EMA."

         37.     On January 8, 2018, Celgene issued a press release that stated, among other things,

  that Celgene expected an "FDA decision on the submission of an NDA for ozanimod in patients

  with relapsing multiple sclerosis (RMS)."

         38.     On January 25, 20 I 8, Celgene filed a Form 8-K with the United States Securities

  and Exchange Commission, which stated, among other things, that an NDA " was submitted with

  the FDA for ozanimod in relapsing multiple sclerosis (RMS) based on data from the phase III

  RADIANCE™ Part B and SUNBEAM™ trials evaluating ozanimod in patients with RMS."

         39.     On February 7, 2018, Celgene filed a Form 10-K with the United States Securities

  and Exchange Commission, which stated, among other things, that:

         Differentiated oral therapies are advanc ing through mid- to late-stage trials in
         inflammatory diseases, including ozanimod, a potential best-in-class S l P receptor
         modulator. In December, a New Drug Application (NDA) was submitted with the
         FDA for ozanimod in RMS based on data from the phase III trials evaluating
         ozanimod in patients with RMS . In addition, ozanimod has a phase III trial in UC
         underway and a phase III trial in CD that is initiating.

         40.     On Febrnary 26, 2018, Celgene received a Refusa l to File letter ("RTF") from the

  FDA concerning the Ozanimod NDA.

         41.     On February 27, 2018, Celgene issued a press release, which stated:

         Celgene Corporation (NASDAQ:CELG) today announced that it has received a
         Refusal to File letter from the United States Food and Drug Administration (FDA)

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           regarding its New Drug Application (NDA) for ozanimod in development for the
           treatment of patients with relapsing forms of multiple sclerosis. Ozanimod is a
           novel, oral, selective sphingosine I-phosphate I (S 1PR!) and 5 (S 1PR5) receptor
           modulator. Upon its preliminary review, the FDA determined that the nonclinical
           and clinical pharmacology sections in the NDA were insufficient to permit a
           complete review. Celgene intends to seek immediate guidance, including
           requesting a Type A meeting with the FDA, to ascertain what additional
           information will be required to resubmit the NDA. "We remain confident in
           ozanimod's clinical profile demonstrated in the pivotal program in relapsing forms
           of multiple sclerosis," said Jay Backstrom, M.D., Chief Medical Officer and Head
           of Global Regulatory Affairs for Celgene. "We will work with the FDA to
           expeditiously address all outstanding items and bring this important medicine to
           patients."

           42.    The closing price of Celgene's common stock on February 27, 2018 was $95.78 per

  share, and the closing price of Celgene's common stock on February 28, 2018 was $87 .12 per

  share.

           43.    On April 25, 2018, Celgene disclosed the Metabolite.

           44.    On April 29, 2018, Morgan Stanley issued an analyst report entitled "More Bread

  Crumbs Yield Less Confidence In Ozanimod."

           45.    On March 25, 2019, Celgene resubmitted the Ozanimod NDA to FDA (the

  "rNDA").

           46.    On May 24, 2019, the FDA filed the rNDA.




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  IV.    PLAINTIFF'S CONTESTED FACTS (State separately for each plaintiff. Proofs shall
         be limited at trial to the matters set forth below. Failure to set forth any matter shall be
         deemed a waiver thereof).

         A.      Plaintiff intends to provide the following contested facts with regard to
                 liability: 1

          1.     The Class Period 1s the period from April 27, 2017 through April 27, 2018,

  inclusive.

         2.      Court-appointed Lead Plaintiff and Class Representative AMF asserts claims on

  behalf of itself and a class of investors who purchased or otherwise acquired the publicly traded

  common stock of Celgene during the Class Period, and held those shares through at least one of

  the three alleged corrective disclosure dates (October 26, 2017, February 27, 2018 and April 29,

  2018) in this case (the "Class").

         3.      The market for Celgene common stock was efficient throughout the Class Period.

         4.      As a U.S.-listed public company, Celgene released earnings and other corporate

  information on a quarterly basis during the Class Period. The Company did so through public

  filings on SEC Forms 10-Q and 10-K, and also through quarterly earnings calls, press releases,

  and investor slide presentations Celgene posted publicly on its website in conjunction with its

  quarterly earnings calls. The Company also published publicly available press releases upon

  important corporate events at other times throughout the year.

         5.      The alleged misstatements and omissions in this case, including Defendant

  Curran's statements on April 27, 2027 and July 27, 2017, Defendant Martin's statements on




  1 These Contested Facts incorporate by reference the contents of Plaintiffs other submissions that
  form part of the Pretrial Order, including, without limitation, Plaintiffs deposition designations
  and exhibits, and Plaintiffs expert reports. The non-inclusion of any facts in this section is not a
  waiver of Plaintiffs rights to raise any such facts at trial.
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  October 28, 2017, and Defendant Celgene's statements on October 26, 2017, January 8, 2018,

  January 25, 2018 and February 7, 2018, were public.

         6.      The alleged misstatements and omissions 111 this case, including Defendant

  Curran's statements on April 27, 2027 and July 27, 2017, Defendant Martin's statements on

  October 28, 2017, and Defendant Celgene's statements on October 26, 2017, January 8, 2018,

  January 25, 2018 and February 7, 2018, were material.

         7.      The alleged misstatements and omissions 111 this case, including Defendant

  Curran's statements on April 27, 2027 and July 27, 2017, Defendant Martin's statements on

  October 28, 2017, and Defendant Celgene's statements on October 26, 2017, January 8, 2018,

  January 25, 2018 and February 7, 2018, were made in connection with the purchase or sale of

  Celgene securities.

          8.     In connection with the acts alleged by Plaintiffs, Defendants directly or indirectly

  used the means and instrumentalities of interstate commerce, including, but not limited to, the

  mails, interstate telephone communications, and facilities of the national securities markets.

          9.     The alleged corrective disclosures in this case occurred on October 26, 2017,

  February 27, 2018 and April 29, 2018.

          10.    The Class includes Class members who purchased Celgene common stock between

  the dates of Defendant Curran's alleged misstatements and omissions on April 27, 2027 and July

  27, 2017 and held those shares through the alleged corrective disclosure on October 26, 2017.

          11 .   The Class includes Class members who purchased Celgene common stock between

  the dates of Defendant Celgene's alleged misstatements and omissions on October 26, 2017,

  January 8, 2018, January 25, 2018 and Februaiy 7, 2018 and held those shares through the alleged

   corrective disclosure on February 27, 2018.



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         12.     The Class includes Class members who purchased Celgene common stock between

  the dates of Defendant Celgene's alleged misstatements and omissions on October 26, 2017,

  January 8, 2018, January 25, 20 18 and February 7, 20 18 and held those shares through the alleged

  corrective disclosure on April 29, 2018.

         13.     The Class includes Class members who purchased Celgene common stock between

  the date of Defendant Martin's alleged misstatements and omissions on October 28, 2017 and held

  those shares through the alleged corrective disclosure on February 27, 2018

         14.     The Class includes Class members who purchased Celgene common stock between

  the date of Defendant Martin's alleged misstatements and omissions on October 28, 2017 and held

  those shares through the alleged corrective disclosure on April 29, 2018.

         15.     As the President of J&I, Defendant Curran actively participated 111 Celgene's

  process for preparing and making public disclosures to the market regarding financial performance

  and clinical development matters in the I&I franchise. Curran directly reported to Scott Smith

         16.     Curran was responsible for providing, reviewing, and/or approving language in

  Celgene's earnings call scripts, investor slide decks, press releases, and SEC Forms I 0-Q and 10-K

  that discussed clinical development matters within the l&l franchise and the financial performance

  of l&I products.

         17.     Curran served on Celgene's IIEC, and she became its Chairperson after her

  promotion to l&l President. The IIEC, which was comprised of senior members of the I&l

  franch ise, made strategic decisions and oversaw l&I's business operations. Membership included

  representatives from each of the functional departments - legal, finance, commercia l, regulatory,

  development, and compliance.      Curran also attended Celgene's Executive Business Review




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  ("EBR") meetings, during which the leaders of each Celgene franchise reviewed performance and

  operational trends, including the latest forecast estimate for Celgene products such as Otezla.

          18.    In his role as President of Celgene I&I, Scott Smith oversaw the clinical

  development, global registration, and commercial sales of drugs within the l&I franchise.

          19.    During the Class Period, Defendant Martin was Celgene's Vice President of

  Leadership & Project Management - Immunology and Managing Director of Celgene-Receptos

  in San Diego. Martin was a member of the IIEC. From January 2014 to June 2016, Philippe

  Martin ("Martin") served as Celgene's Vice President of Project Leadership & Project

  Management for Immunology.

         20.     Martin reported directly to Smith until April l, 2017, and then reported directly to

  Curran from April I, 2017 until the end of the Class Period.

         21.     Martin provided updates regarding the Ozanimod NDA to the IIEC at meetings of

  the llEC, among other means.

         22.     Smith generally relied on information he received about Ozanimod from Martin

  and Curran as well as FDA guidance.

         23.     Celgene's most successful drug was Revlimid, a blockbuster chemotherapy drug

  that accounted for over $8 billion in Celgene's global sales and over 60% of the Company's total

  revenue in 2017. After the launch ofRevlimid in 2006, the drug quickly became a blockbuster for

  Celgene. By 20 I 0, Revlimid accounted for $2.4 billion in annual product sales- roughly 70.4%

  of Celgene's total annual net product sales- and, by the end of 20 14, Rev Ii mid accounted for $4.9

  billion in sales. For five consecutive years prior to the Class Period, Revlimid had delivered over

  half of the net product sa les for the entire Company. In 20 14, net product sales from Revlimid

  accounted for $4.98 billion, or more than 65% of total net sales for the Company as a whole.



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           24.   On January 12, 20 15, Celgene announced its five-year strategic growth plan.

  Celgene stated that its l&I franchise was "expected to exceed" $3 billion in net sales by 2020-

  and Otezla net sales in 20 I 7 would range between $ 1.5 and $2 billion.

           25.   During the Class Period, Celgene faced the looming expiration ofRevlimid 's patent

  protection, which was set to expire in 2022. In December 2015, Celgene agreed to provide Natco

  Pharma Ltd. with, among other things, a volume-limited license to sell a generic version of

  Revlimid in the U.S. commencing in March 2022. Celgene executives knew that the "lions' share"

  of Celgene's business was at risk once Revlimid came off patent protection.

           26.   Thus, Celgene required a new drug pipeline to offset the anticipated loss in revenue

  from the entry of generic alternatives to Revlimid in the marketplace.

  Otezla

                 1.     Celgene Depended on Otezla to Replace Anticipated Future Revenue
                        Losses, But the Drug Was Beset by Poor Efficacy and Product Adoption
                        and Experienced F lattening Market Performance Trends Prior to the
                        Adoption of Otezla 's 2017 Budget

           27.   One of the drugs that Celgene depended upon to replace the Company's revenue

  stream from Revlimid was Otezla (apremilast).        Celgene touted Otezla as being among its

  " multiple potential blockbuster products in I&I" and as a drug that was expected to lead the

  Company towards "significant growth through 2020 and beyond."

           28.   Otezla is a sma ll molecule drug approved as a treatment for adult patients with

  moderate to severe PsO and PsA.

           29.   The FDA first approved Otezla in March 2014 for treatment of PsA, fol lowed by

  its approval in September 2014 for treatment of PsO.

           30.   The overall PsO and PsA markets included other drug-based treatments, such as

  topicals applied to the skin, phototherapy used for PsO only, NSAIDs, DMARDs, and biologics.


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  Biologics are different from traditional system ic drugs that impact the entire immune system.

  Biologics only target specific parts of the immune system.

         31.     Formularies define which medications will be covered, under what circumstances,

  and at what cost to the patient, and distinguish between preferred and non-preferred products by

  dividing medications into "tiers," each with a different level of patient cost sharing. For drugs in

  higher tiers, patients typically pay either a higher fixed amount (copay) or a higher percentage of

  the cost of the drug (coinsurance). If a drug is not included in the formulary, then patients are

  typically responsible for the full cost of the drug unless a specific exception is granted.

         32.     If a drug has a prior authorization requirement, a health care provider typically must

  obtain approval from a health insurance plan that the drug is medically necessary before the patient

  can receive a prescription.

         33.     In some instances, plan sponsors and pharmacy benefit managers ("PBMs") require

  step therapy. Step therapy or "step-edits" are a common cost-control strategy that require patients

  to try a lower cost prescription drug that treats a given condition before stepping-up to a similar

  acting, but more expensive drug.

         34.     By mid-2016, Otezla faced numerous challenges in increasing sales and market

  share, and Celgene executives, including Curran, received multiple pieces of negative information

  about Otezla 's efficacy and product adoption, the overall PsO and PsA markets, and Otezla 's

  decelerating market share.

         35.     For example, in 2016, even though over 99% of commercially insured patients had

  coverage for Otezla, 67% of these patients were required to unsuccessfully try at least one biologic

  product before their insurance company would offer coverage for Otezla. For example, in 2016,

  Aetna required PsA patients to first try and fail with either methotrexate or at least two NSAIDs



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  and then try and fail with at least two separate biologics with preferred formulary status (such as

  Enbrel and Humira) before Aetna would offer insurance coverage for Otezla. Other major payers

  like Anthem, Express Scripts ("ESI"), and Humana had similar step edit restrictions in place for

  Otezla.

            36.   Further, by as early as August 2016, Celgene executives knew that Otezla's market

  share growth had stalled, that its new prescription trends were flattening, and that its new-to-brand

  capture was leveling out. Curran acknowledged that she knew by October 2016, during the initial

  preparation of the 2017 Otezla Budget, that Otezla's market share was moving "at a slower pace."

            37.   Actual market data supported these negative trends. By the second half of 2016-

  before Celgene set its 2017 Budget- Celgene executives including Curran knew that Otezla's

  market share within the PsA and PsO markets had already begun decelerating, as Otezla was

  reaching full product adoption.

            38.   Otezla's PsA market share began stagnating early in 2016, and, by August 2016,

  Otezla 's PsA market share within a broader, more representative market basket had been flattening

  for over a year. Similarly, Otezla's PsO market share began decelerating throughout 2016, slowing

  to a rate of less than a tenth of a percent per month. The significant deceleration in Otezla's market

  share reflected that the product was reaching maturation.

            39.   Other information available to Celgene executives, including Curran, in 2016

  supported these negative data points about Otezla.        Celgene-commissioned surveys (such as

  "Wave" surveys produced for Celgene by Naxion) and other public reports (such as those

  conducted by the UK's National Institute for Health Care and Excellence ("NICE"), industry

  market intelligence firm Datamarket, the Canadian Drug Expert Committee ("CDEC"), and the

  Institute for Clinical and Economic Review ("ICER")), were critical of Otezla's efficacy in



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  comparison to competing treatments. In fact, certain reports ranked Otezla at the bottom of all

  possible drugs for the treatment of PsO and PsA and found that the proportion of patients "quitting

  due to lack of efficacy is on the rise." One report explicitly noted that this lack of efficacy was "a

  critical factor in suppressing [Otezla's] share growth." For example, a December 2, 2016 report

  authored by ICER found that Otezla had "the lowest relative effectiveness" across all possible PsO

  treatment outcomes.

         40.     These reports were consistent with the overall assessment of Otezla by the

  pharmaceutical industry and practicing physicians. Otezla was viewed by the industry as a niche

  treatment for 5-10% of patients who were "needle shy" or who had "contradictions to

  [methotrexate] and biologics." Plaintiff's expert, Dr. Simon Helfgott, a rheumatologist at one of

  the largest clinical practices in the United States (Brigham and Women's Hospital) and an

  Associate Professor of Medicine at Harvard Medical School, opined that, "Otezla was inferior to

  [] other treatments due to its well-documented inferior efficacy compared to biologic drugs, and

  higher cost compared to conventional systemic treatments with similar efficacy, such as

  methotrexate, another oral therapy." Celgene's expert, Dr. Gary Solomon, acknowledged that

  Otezla was a product appropriate for only a "selected subset of patients" and "select groups of

  patients." According to Dr. Solomon, "Otezla is less powerful than many of the biologic agents"

  for the treatment of PsO and PsA, and methotrexate was effective as Otezla. In fact, Solomon

  personally prescribed Otezla only to approximately 5% of his patients.

          41.     The market's perception of Otezla's poor efficacy represented a challenge to gain

  greater market access with insurance payers, particularly given the availability of other systemic

  treatments like methotrexate (the most popular, and a less expensive therapeutic) and biologics




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  (the most effective therapeutics). One confidential third-party report issued to Celgene by Naxion

  concluded that Otezla had reached "market stasis" in 2016.

          42.    Likewise, physicians reported that Otezla patients suffered nausea and

  gastrointestinal side effects, particularly diarrhea, which outweighed the perceived benefits of its

  use. Factors such as relative efficacy, tolerability, patient adherence, and cost are important

  considerations for practitioners in selecting a systemic treatment for PsO or PsA. Otezla 's inferior

  efficacy, poor tolerability, and inferior patient adherence made Otezla a poor treatment choice for

  the majority of patients, leading many to discontinue treatment. Celgene executives recognized

  that these negative prescribers' views were relevant in setting Otezla's budget and forecast

  estimates.

         43.     Further, additional competitors entered the marketplace in 2016 with treatments

  directed at the same indications as Otezla, with more competitors scheduled to enter the

  marketplace in 2017. Heading into 2017, Otezla thus faced numerous entrenched competitors with

  a higher percentage of market revenue (Humira, Enbrel, and Stelara), as well as new products that

  would experience a higher rate of growth.

                 2.     Celgene Entered Into Managed Care Contracts That Were Not
                        Expected to Drive Any Revenue Growth in 2017 and That Presented a
                        Risk That Otezla Would Not Meet Budget Expectations Absent Driving
                        Significantly More Demand and Market Share to Non-Contracted
                        Plans

         44.     Celgene executives attributed stalling sales and market growth in part to restrictions

  imposed by insurance payers at the point of sale. These "bio-step edits" prevented U.S. patients

  from gaining access to Otezla without first being required to fail at least one biologic competitor

  product and/or methotrexate.

         45.     In an attempt to overcome this serious barrier, and expand Otezla's use as a pre-

  biologic treatment, Celgene sought the removal of biologic step-edit restrictions to allow Otezla

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  to attract patients who had been moving directly from no treatment or a fi rst-line treatment to a

  biologic. Specifica lly, Celgene entered into managed care contracts with three large payers, ESI,

  Prime Therapeutics ("Prime"), and Aetna, which ensured Otezla a bio-step free formulary position

  with those pharmacy benefit managers ("PB Ms") as of January 1, 2017.

         46.     However, the price that Celgene paid to enter into these agreements included

  rebates, price protection on Revlimid, and a steep discount on Otez la sales.         Further, the

  methotrexate step edit remained in place, mean ing that patients would have to first use

  methotrexate before Otezla even under the managed care contracts.

         47.     Celgene executed the new managed care contracts at or around the same time that

  the Company was finalizing its 20 17 Budget in fall 20 I 6.

         48.     Internally, Celgene determ ined that its Otezla contracting strategy (which offset

  Otezla price increases due to discounts) was not expected to yield any net revenue growth for

  Otezla in 2017, but rather would have a negative net sales impact for the year.

         49.     As the managed care contracts were not expected to generate any net revenue in

  2017, Otezla's discounting strategy required "significantly more" demand in the non-contracted

  plans. To reach even this " impact neutral" status based on the new managed care contracts,

  Celgene executives rea lized that "[(]ailing to deliver on an inflection in market share would risk

  perform ing to our currently submitted 2017 budget."

         50.     Given decelerating market shares and the expected negative net revenue impact of

  the managed care contracts in 201 7, Otez la's forecasted net revenue growth could only be driven

  by increased unit sales (and market share) outside of the managed care contracts and outside of

  planned net price changes.




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         51.     In general, unit sales expand when (i) the overall market expands and/or (ii) a

  product increases its share of the market. In setting the 2017 Otezla Budget, Celgene assumed that

  both would occur; thus, failing to do so would result in Celgene missing the budget. The 2017

  Otezla Budget assumed that the overall PsO and PsA markets would expand by 13% and 8%,

  respectively. In addition, the 2017 Otezla Budget assumed that Otezla's market share within the

  PsO and PsA markets would increase by 17.2% and 9.1 %, respectively. The 2017 Otezla Budget

  forecast 671,000 units and U.S. net revenue of $1.309 billion, premised on these assumptions,

  which included the execution of the Company's managed care contracting strategy.

          52.     Yet, Otezla faced challenging prospects outside the managed care business. Otezla

  lacked contracts with two of the largest PBMs- CVS Health (Caremark) and Optum Rx (United

  Healthcare)- which imposed significant step-edits and other restrictions, making it difficult for

  patients to obtain Otezla through those plans. These two PBMs, which accounted for nearly half

  of PBM-managed prescription claims in 2017, would have been an unlikely source of growth for

  Otezla in 2017 without contracts in place to increase product access. It was thus unlikely that

  Otezla would experience any growth from within these plans, which covered a large pool of

  potential patients.

          53.     In addition, non-U.S. Otezla sales, which comprised approximately 14% of the

  low-end of the public guidance and budget, were characterized internally at Celgene as a "super

  stretch target" and could not offset any shortfalls in the U.S. budget.

                  3.     Certain Celgene Executives Recognized That Otezla's 2017 Budget
                         Was Unattainable, Which They Communicated to Defendant Curran
                         on Multiple Occasions

          54.     Celgene executives recognized that Otezla's 2017 growth targets were unattainable

  from their inception. In fact, as set forth below, Curran was explicitly warned in multiple IIEC



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   meetings between the third quarter of 2016 and the first quarter 20 17 that Celgene was at risk of

   meeting its budgeted forecast for Otezla net sales.

          55.     For example, as early as September 2016, Robert Tessarolo, the general manager

  of the United States l&I market, who reported to Defendant Curran, notified Curran that even

  " neutral" sales required "significantly more demand" in managed care contracts, and that without

  an inflection point in market share, Celgene risked missing the 20 17 Budget.

          56.     Tessarolo also warned Curran and members of the IIEC on multiple occasions in

  the fall of 20 16 through the first quarter of 2017 that the 20 17 Otezla net sales forecast was at risk

  because, due to the impact to net sales from the payer contracts, Otezla was going to fall short of

  the forecast.

          57.     Former Otez la executive Betty Jean Swartz ("Swartz"), Celgene's Vice President

  of Market Access, who reported to Tessarolo, testified that she was "personally in meetings" in

  which Tessarolo "warned the IIEC [I&I Executive Committee] that the 20 I 7 net sales guidance

  was at risk and needed to be lowered," and that "he said it more than once." Swartz testified further

  that the potential lowering of the Otezla guidance was "a pretty prevalent topic" during that time:

  "These were conversations that came up fairly often" with Curran and other senior Celgene

  executives. Swartz testified that despite Tessarolo's suggestion that Celgene had to lower its

  Otezla forecast because Celgene was going to fa ll " very short" of the benchmark, Curran and Scott

  Smith (Celgene's President and Chief Operating Officer) pushed back and said that they would not

  change the forecast guidance.

          5 8.    Swartz testified that she believed as of late 2016 that the 2017 Otezla Budget "was

  just not ach ievable." Swartz reached this conclusion "based on the factors of the other competitors

  coming into the marketplace, based on the payer contracts[.]"



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           59.     Likewise, former Celgene executive James Kilgallon, Celgene 's Executive Director

  of Pricing and Contracting, testified that Celgene submitted a 2017 budget plan with "very

  aggressive market growth" and that Company executives realized shortly thereafter "that market

  growth may not continue because Otezla had ... already pulled a number of patients off the sidelines

  to treating within the class and that phenomenon may not continue." Kilgallon testified that he

  was present in an IIEC meeting and recalled that Tessarolo directly conveyed the risk identified

  "that we [Otezla] were not going to meet our numbers." Kilgallon further testified that Tessarolo

  told him and Swartz about a separate "meeting just with Terrie" in which Tessarolo presented the

  risk directly to Curran.       According to Kilgallon, the warnings from Tessarolo were "not

  well-received" by senior Celgene executives, including Curran.

           60.     Contemporaneous documentary evidence confirms Kilgallon's account.              As

  Kilgallon wrote in a September 2016 internal email , Tessarolo tried to convey to Curran and other

  IIEC members "that 2017 will suck" for Otezla because there would be "pain" in 2017 as a price

  for market access. Kilgallon further testified that Hunter Smith, the Vice President of Finance for

  the I&I Franchise, who reported to Curran and was a member of the IIEC, had concerns about the

  financial impact of the rebate levels for the ESI, Prime, and Aetna contracts, that the timing

  assumption of market share gains posed a risk to the Otezla forecast, and that if the Company did

  not hit the market share gains it would pose a "downside risk to the financials that we were

  presenting."

          61.      Tessarolo ultimately resigned from Celgene in mid-March 2017, before the end of

  the first quarter of 20 I 7.




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                 4.     Despite Knowledge of Significant Risks, Celgene Set an Aggressive
                        2017 Budget for Otezla Based on Performance Indicators That
                        Underperformed

         62.     In January 2017, Celgene finalized the 2017 U.S. Budget for Otezla, ultimately

  setting its internal Otezla global budget for 2017 at $1.57 billion. For the U.S., Celgene projected

  sales of 671,000 Otezla units, gross revenue of $1. 940B, a "GTN Rate" of 32.6% and net revenue

  of$1.309B in 2017. Celgene also projected quarterly Otezla unit sales for2017 as follows: 141,776

  units in QI, 160,082 units in Q2, 176,189 units in Q3, and 193,052 units in Q4.

         63.     The budget provided that Celgene could only meet its Otez la forecasts if: (i) the

  market expanded and Otezla's market share grew considerably; and (ii) Otezla unit sales increased

  independent of Celgene's efforts to improve market access through new managed care contracts.

  The budget also included a $70 million "risk adjustment" to account for potential risks from

  managed care contracts. Once set, the budget did not change.

          64.    Plaintiff's expert, Dr. Chris Stomberg, who will testify at trial about industry

  forecasting practices and Otezla's forecasting practices, opined that "Celgene did not adhere to

  well-accepted pharmaceutical industry performance assessment and forecasting principles when it

  projected 45% net revenue growth in its 2017 Otezla Budget," as " [m]arket fundamentals did not

  support the growth targets set by Celgene for Otezla in 2017 ." As Dr. Stomberg has further opined

   based on the evidence:

          Celgene did not follow reasonable industry practices in forming its 2017 Otezla
          Budget. It based the Otezla US budget on market share growth assumptions that
          ignored important contemporaneous evidence that those assumptions were highly
          unrealistic. Instead, Celgene appears to have justified its assumptions on the basis
          of market analogues that were no longer relevant (and may never have been) now
          that Otezla had been on the market for two years and was facing real competition.
          Celgene then seems to have deviated from these unreliable market share
          assumptions in its 2017 Budget by adjusting them further upward. Real world data
          clearly communicated a different reality: Otezla was maturing, and its market share
          growth was rapidly decelerating as it faced strong competition. The 2017 Otezla
          Budget was unreasonable and unreliable.

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         65.     Celgene based its public guidance on its budget and interim forecast estimates. On

  January 9, 2017, Celgene issued a press release announcing that it was updating the sales guidance

  for Otezla, and that it expected Otezla net sales of "approximately $1.5 [billion] to $1.7 [billion]"

  for 2017, reflecting a 57% "year-over-year change" based on the mid-point of the guidance range.

  This guidance was at the low-end of the 2017 Budget.

         66.     Celgene thereafter produced updated forecasts on a quarterly basis, which the

  Company measured against the budget and the public guidance. These intra-year updates were

  referred to as the "latest estimate," or LE. The forecasting methodologies and models used to

  prepare the budget and the LEs were essentially "the same." l&I executives were "owners of their

  numbers," and their performance expectations were tied to hitting the forecast and budget.

         67.     As Hunter Smith testified, Celgene reviewed its public guidance on a quarterly

  basis "at the highest levels of the [C]ompany," including whether the guidance would be

  "increased, decreased, ... narrowed or widened" based on the quarterly forecast.

         68.     Multiple Celgene internal documents identify the primary metrics upon which

  Celgene evaluated Otez la's performance and constrncted its forecast, including:

                 a.      Market share;

                 b.      Market access exit shares of the contracted plans (ESI, Prime, and Aetna);

                 c.      Market growth;

                 d.      Unit sales;

                 e.      Net revenue attainment versus budget;

                 f.      Total and new prescription growth;

                 g.      Inventory trends; and

                 h.      New patient growth.



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          69.    Terrie Curran hersel f identified as Otezla's "key metrics" the following: Otezla's

  monthly and YTD net sa les vs. budget; PsO/PsA market share vs. competition and the Company's

  internal goal; Otezla's new-to-brand share; Otezla "prescriber breadth and depth," and "inventory

  DOH."

          70.    The metrics identified above are also those used by professionals across the

  pharmaceuticals industry to measure product performance. Dr. Stomberg identified numerous key

  performance indicators used by pharmaceutical companies to track product performance and

  uptake, as well as to forecast sa les trajectories-including total prescriptions (TRx), new

  prescriptions (NRx), new-to-brand prescriptions (NBRx), market share, market size and growth,

  syndicated surveys and prescribing trends, daily/weekly sales figures, inventory days on hand

  (DOH), gross-to-net (GTN) information, and historic calendarization data. Defendants ' expert,

  Dr. Brian Reisetter, identified similar "product performance metrics" tracked across the industry,

  including " unit sales, gross revenue, net revenue, market shares, as well as pharmaceutical data

  from third party vendors, such as IQ VIA (formerly known as IMS) and Symphony Health," which

  he has " relied on" as part of his "strategic assessment" of pharmaceutical companies.

          71.    Douglas Bressette, Senior Director, Global Business Planning and Analysis for I&I,

  who was one of the primary Celgene executives responsible for Otezla forecasting, testified that

  the "available data that was relevant to the Otezla forecasting model" included "TRx and NRx data

  published by third-party prescription healthcare data firm s, IMS, and Symphony," as well as

  "market shares of Celgene's product relative to... other products sold for that same disease area"

  and information about market volume. Bressette also testified that the level of product inventory

  is relevant to the budget and the forecast, and that "prescribers' views of Otezla relative to

  competing therapies" were relevant to "assessing some of the assumptions that go into the



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  forecast." Likewise, Hunter Smith confirmed that Celgene quantified the revenue risk of Otezla

  failing to satisfy specific metrics, such as market share, market growth, and market access.

                 5.     Multiple Key Otezla Performance Metrics Underperformed in the First
                        Quarter Of 2017, as Otezla Missed Its Forecasting Targets By Tens of
                        Millions of Dollars

         72.     By the first quarter of 2017, none of the necessary conditions to meet the 201 7

  Otezla budget had occurred. The market had not expanded, Otezla's market share had not grown,

  and Otezla 's unit sales had not increased independent of new managed care contracts.

         73.     In early 2017, Otezla's actual sales underperformed Celgene's unrealistic budget

  and public guidance targets. The net sales shortfall began almost immediately within the first

  quarter of 2017, as Celgene entered 2017 with a large inventory overhang exiting 20 16 due to

  wholesalers stocking additional Otezla in advance of a scheduled year-beginning price increase.

         74.     Celgene executives recognized that the lack of January 2017 sales was

  "exacerbated by robust inventory levels," as " [i]nventory level s may prolong sales slowdown even

  as demand returns to growth." In response to an expected price increase, Otezla wholesalers had

  already accumulated enough inventory to have product for approximately 20 days on hand

  ("DOH"), which was well in excess of normal ranges of 10-1 3 DOH. As Douglas Bressette

  testified, the "inventory stocking was a surprise" that directly impacted the budget and forecast,

  and, had Celgene executives "known that distributors wanted to hold 20-plus days on hand, we

  would have had the opportunity to factor that into our QI [forecast]."

          75.    It took a self-described "significant" draw down in inventory to decrease Otezla's

  inventory to a normalized level of DOH by quarter end. In particular, Otezla's DOH metric fell

  from 20 DOH at the end of 2016, to 17 DOH in January 20 I 7, to 12 DOH in March 2017. Curran

  noted in internal presentations that "Significant inventory drawdown through the first six weeks

  of 2017 drive soft year-to-date performance." Curran also confirmed that she recalled discussing

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  the "significant inventory drawdovm" during the first quarter of20 I 7. Later in the quarter, Celgene

  attributed " inventory adjustment" as one of the key factors "driving Q 1 weakness."

            76.   Yet, even beyond the "inventory adjustment," Celgene experienced problems with

  lower demand for Otezla early in the first quarter of 2017, with I&I executives noting in

  January 20 17 that "we are lagging big time" and that "we are long past digestion of the December

  buy-in so the issue is demand." That is, specialty pharmacies were not purchasing Otezla from

  wholesalers at the level (and price point) that Celgene had forecasted. Executives acknowledged

  that " [i]nventories have contracted considerably since January while demand also slumped,"

  leading to a reduction of the gross sales forecast of $73 million and a reduction of $34 million in

  net sales. These executives expl icitly rejected the theory that inventory adjustment was the sole

  reason for the Otezla sales slump.

            77.   By   early-February 2017,     Curran    knew    Otezla   sales    were   significantly

  underperforming the 2017 Budget. Curran regularly reviewed how sales were tracking against the

  budget and forecast, and she knew that Otezla's actual revenue was at only 55% of the budget as

  of early February. Curran also had access to Celgene's Daily Sales Report, which showed in the

  first quarter of 2017 that Otezla sales were at variance with (and below) the budget and forecasts.

            78.   By the end of February 20 17, Celgene had adjusted the 2017 Otezla global budget

  downward by $70 million. Internal Celgene documents indicated that multiple sales metrics were

  underperforming and that Otezla 's sales drop in January 20 17 was unprecedented in terms of size

  and scope. An email from Tessarolo to Curran dated February 21, 20 17 included a slide titled

  "Latest Thinking Summary," which reduced the total number of forecasted Otezla unit sales for

  the fi rst quarter of 2017 from 141,776 to 11 7,300 units, creating a 24,500-unit variance to the 2017

  Budget.



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         79.     Celgene knew that the underperformance was material to investors.                  In

  mid-February 2017, after receiving an email that Otezla sales trends were "very soft" and required

  sales increases of" I 00% above the levels we have seen until now," CFO Peter Kellogg responded

  (in an email that went to Celgene's CEO Mark Alles) that it was " important to note that the Street

  is well ahead of this Budget/forecast for Otezla, so that will be the main issue for Q 1, even if we

  get back to Budget." He remarked further that "we should plan our verbal commentary, and

  whether there should be some pre-emptive signaling during the Quarter to get the street better

  aligned."

         80.     By February 24, 2017, Curran's "latest thinking" was that Otezla would miss the

  first quarter 2017 Budget by at least $34 million.

         81.     Celgene 's Corporate Finance Group created a Weekly Sales Analysis Report to

  provide a view of expected sales based on the historical trend of daily sales patterns. As of

  early-February 2017, the Corporate Finance Group recognized that sales were "significantly below

  where we would expect," and that "a very significant uptick" of a "73% increase on the average

  daily sales to date [was) needed to achieve the Budget." The Corporate Finance Group also

  questioned the I&I franchi se's inability to provide updated and accurate forecast numbers. In late

  February 20 17, Celgene Senior Vice President of Global Finance JUrg Oehen chastised the I&I

  franchise, stating, " [W]e need more regular automatic updates from l&I and one source of the

  truth." He thereafter remarked to Celgene CFO Kellogg, "The updated forecast seems very

  ambitious and I have serious doubts on whether we will get there."

         82.     Otezla 's underperformance in the first quarter of 2017 was related in large measure

  to its inability to grow market share, as well as the fai lure of the overall PsO and PsA markets to

  grow according to Celgene's expectations.



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          83.     Multiple internal Celgene documents received by Curran and other Celgene

  executives revealed that Otezla's market share within the PsO and PsA segments was flat to

  decreasing in the first quarter of 20 I 7. Curran recognized that the Company's Board of Directors

  could view the existence or perception of a "flat" Otezla market share negatively, writing in

  response to a QI presentation: "Just met re Ql and Bod messaging ...Feedback re BOD deck -

  don't like market share as it looks flat... "

          84.     Internal Celgene documents received by Curran and other Celgene executives also

  revealed that "Market Growth Appears to be Cooling - PsA and PsO" and that "Volumes Show

  Consistent Weakness in Ql."         On March 10, 2017, Curran commented as to one of these

  presentations: "Interesting. As I look more closely, market growth does seem to be cooli11g in

  both segments." During her deposition, Curran stated that the term " both segments" referred to

  the PsA and PsO market segments, and that she was commenting about the current market basket

  of products.

          85.     By March 8, 2017, Celgene reduced the latest internal estimate for U.S. Otezla

  sales by $40.5 million relative to the U.S. Budget. Celgene also downgraded its internal unit sales

  forecast for the first and second quarters of 2017 by approximately 25,000 units and 12,000 units,

  respectively.

         86.      Despite an awareness that Otezla sales would not meet first and second quarter

  estimated sales, Curran and members of Celgene's I&I finance team inexplicably assumed that,

  for the second-half of 2017, Celgene would sell thousands of sales units more than previously

  forecasted (approximately 25,000 units). These unexplained additions- unconnected to any

  underlying data about actual or expected growth- were made outside the normal forecasting

  process, contrary to industry practices, and only after meeting with Curran. In order to satisfy that



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  updated, irregular forecast, Otezla would have required a further price increase on top of the

  increase already contemplated in the budget (from 6.95% to 9.95%).

         87.     As of March 20, 2017, Otezla global net sales were only at 80% of the 2017 Budget

  on a quarter-to-date and year-to-date basis. Otez la U.S. net sales were only at approximately 76%

  quarter-to-date and year-to-date of the U.S. Budget. In just one month, between February and

  March 2017, Otezla's net sales miss for the first quarter increased by an additional approximately

  $18 million.

         88.     Additional negative performance indicators impacted Otezla's ability to meet its

  Budget and public guidance. For example, a March 2017 slide deck listed several "Variance

  Drivers," including (i) "Demand: Market growth has s lowed down"; (ii) " Inventory build-up in

  Q4 2016 affected sh ipments in Ql"; and (iii) "GTN impacted as lower demand has primarily

  affected lower discounted volumes," i.e., sales outside of the managed care plans that Celgene

  depended upon to meet the budget. Further, Otezla 's international sales were lagging 18% behind

  the 2017 Budget for the first quarter of 2017. By March 23, 2017, Bressette recognized that

  Celgene was "never going to hit" the Budget without a price increase, which was never

  implemented.

         89.     Given underperforming market growth and market share, as reflected in a

  presentation prepared for Curran dated March 24, 2017, Celgene correspondingly downgraded its

  internal budget assumptions:




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                  .OTEZLA 2017 Budget & Latest Assumptiohs



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         90.     The Presentation, which was marked "For internal use only" and "Do not

  distribute," assumed a much lower growth rate in the PsO market (only 5.5%, compared to 15.45%

  in the budget) and the PsA market (only 3.7%, compared to 7.5% in the budget). And it assumed

  that Otez la's PsO market share would decrease by approximately 1.5% from the assumption built

  into the 2017 Budget. Altogether, the 9.9% contraction in the PsO market growth rate, the 3.8%

  contraction in the PsA market growth rate, and the 1.5% reduction in Otezla's expected PsO market

  share reflected an approximately $ 140 million risk to the 2017 Budget and the Company's public

  guidance based on l&l's self-established "Opportunities and Risks" assessment.

         91.     The "Budget & Latest Assumptions" slide further recognized that Celgene erred in

  assuming "No December 2016 build-up" in inventory, as the latest assumption was a "Resulting

  inventory draw-down in QI." Since the inarket share and market growth assumptions were vital

  to generate the unit growth needed to achieve the 2017 Otezla Budget, these changes would likely

  have a dramatic impact on Celgene's sales projections for 2017---especially for the PsO market

  opportunity.

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          92.    Crucially, Otezla's managed care plans within each of the critical PBMs - Aetna,

  ESI, and Prime - tracked lower than budgeted. In the first quarter of 2017, TRx volume for each

  of the three PB Ms underperformed the forecasted amount bu iIt into the 2017 Budget; and ESI and

  Prime each underperformed Otezla's within-plan forecasted market share comprised of an

  eight-drug market basket.

          93.    Following a March 27, 2017 EBR meeting, Celgene set the March 2017 LE for

  Otezla at $201 million for U.S. net revenue, a reduction of approximately $55 million from the

  first quarter of 2017 Budget; and at $43 million for Rest of World ("ROW") net revenue, a

  reduction of approximately $7 million from the first quarter of 2017 Budget- for a total reduction

  of $62 million from the 2017 Global Otezla Budget, or 25%.

          94.    Ultimately, Otezla sales underperformed the 2017 Budget forecast for the first

  quarter of 2017 by approximately $5 1 million. Celgene also experienced a "Q 1 shortfall of 27k

  units vs. Budget."

                 6.         Otezla Sales in April 2017 Did Not Make Up the First Quarter 2017
                            Forecast Shortfall

          95.    Otezla sales in April 2017 did not increase at a level to make up the substantial first

  quarter 2017 shortfall.

         96.     Celgene executives recognized that the continued underperformance of Otezla sales

  in April made it likely that: "Otezla is on track to... again miss the forecast." On April 18, 2017,

  Celgene finance executives acknowledged that it had been "[a]nother challenging Monday for

  Otezla," that "we are fa lling further behind every Monday," and that it was " hard to belie[ve] that

  they will get close to their Q2 forecast." In fact, Otezla's year-to-date sales trend was negative as

  of April 24, 2017 (the last Weekly Sales Analysis Report before the April 2017 False Statement),




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  leading the Corporate Finance Group to exclude any analysis of the past 5-weeks in sales in

  projecting futme growth based on the "continued volatility of Otezla sales."

              97.     An internal Celgene ema il dated April 20, 2017 (sent to Curran's executive

  assistant), listing Otezla MTD (month-to-date), QTD (quarter-to-date), and YTD (year-to-date)

  sales with 1-week, 2-week, and 4-week run rates, further showed that Otezla 's April 2017 sales as

  of April 20, 20 17 underperformed both the U.S. budget (88% vs. the budget) and global budget

  (80% vs. the global budget). The same internal document stated that Otezla's YTD sales were

  well below the U.S. (80%) and global (84%) budgets to date. Finally, the internal document also

  showed that Otezla's global and U.S. forecasts would fall well short of the global ($1.554 billion)

  and U.S. ($1.309 billion) budgets, respectively, at I-week, 2-week, and 4-week run rates, resulting

  in a 2017 guidance shortfall of approximately $400-500 million:




    United Slates           22,593   20,464      21,832   288,367 266,650 280,601     871,268    794, 619   843,856.

    EMEA                     2,376   2,950        2,889    31,912     7,673   7,673    93,221    113,885    111,668

    Canada                    326      305         310      4,217     3,998   4,054    ·12,638    11,866     ·12,062

    APAC                      327      287         214      4,064     3,652   2,909    12,499     11,045      8,423
      ;   I   I   ;                   • 'I ,                ;   , I     I,       I    989,6271 931,4161     976,009



              98.     On Apri I 26, 201 7, Curran and other Celgene executives received an internal

   presentation with Otezla U.S. Performance data showing that Otezla's actual net revenue was only

   83% of the 20 17 U .S. Budget for the year-to-date.

              99.     The April 26, 2017 presentation further confirmed that April 20 17 Otezla sales

   were at the level forecast originally for just April 2017 in the 2017 Budget, and that Celgene had

   not made up any ground from the 27,000-unit sales shortfall in the first quarter of 2017. April 2017

   weekly average net sales also were not enough to meet targets for the second quarter of 20 17. In

   addition, Otezla's new prescription (NRx) metric was in a downward trend, negative for the

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  4-week/4-week period and -2.02% below NRx growth year/year. These data further confirmed

  that Otezla had reached market stasis and would not see the necessary growth in market share and

  net sales to meet the aggressive forecast and public guidance.

          100.   The April 26, 2017 presentation also indicated that the overall market had

  contracted, with declines of approximately 4% in the PsO market over the 4-week market volume

  metric and declines of approximately 3% in the PsA market over the 4-week market volume metric.

          101.   In or around April 26, 201 7, IIEC members discussed the negative managed care

  impact and slowing demand, as well as lowering the forecast in light of the growing net revenue

  shortfall facing Otezla.

                 7.      Defendant Curran Misled Investors Regarding Otezla's First Quarter
                         2017 Performance and Celgene's Inability to Meet Otezla's Public
                         Guidance

          102.   On April 27, 2017, in a press release and during an earnings call, Celgene disclosed

  Otezla net sales for Q 1 2017. The net sales of $242M were 2 1% less than Otezla net sales for Q4

  2016 and $60M less than the Q 1 budget.

         103.    During an April 27, 20 17 conference call with investors discussing Celgene's

  results for the first quarter of 20 17, Curran addressed a question from an analyst for UBS asking

  that the Company "walk through what gives you confidence [that Otez la] growth will bounce

  back" from disappointing results in the first quarter of 201 7. In response, Curran stated:

         I think there was really 3 key drivers to the performance in the first quarter. Firstly,
         we saw contraction in the market as we saw increased [gross to net] as a result of
         the contracting. But importantly, that really gives us access to double the number
         of insured lives going forward. And lastly, we saw a minimal drawdown in
         inventory. Importantly, if we look at the underlying dynamics of the business,
         they're exceptionally strong. If you look at the market share, OTEZLA continues
         to grow market share. We continue to gain more than 40% of new patients. And
         these new contracts will give us access to an additional pool of patients moving
         forward. Importantly, if we look at the exit run rates out of quarter 1 and into
         quarter 2, we do see the net sales rebounding and on track to deliver our 20 17
         guidance.

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            104.   Curran's remarks about Otezla related to the drug's performance in the first quarter

  of 2017, included materially misleading representations of current facts, and were not forward-

  looking. Prior to Curran's remarks, during Celgene's prepared remarks, investors were shown

  slides that included Otezla market share scaled over a 26-month period, and which purported to

  show that Otezla market share increased in the first quarter of 2017. But Curran's remarks about

  the "3 key drivers to the performance it the first quarter" did not relate to the previously-shown

  slides.

            105.   At the time of her April 27, 2017 Statement (the "April 2017 False Statement"),

  Curran knew or had access to the following facts, as discussed above, including:

                   a.      Robert Tessarolo directly warned Curran and other senior Company

            executives on multiple occasions between fall 2016 and the first quarter of 2017 that

            Celgene's Otezla forecast was at risk- which was a "pretty prevalent topic at the time"

            with the l&I franchise.

                   b.      Otezla sales significantly underperformed the 2017 Budget forecast for the

            first quarter of 2017, missed the first quarter of 2017 unit forecast by 27,000 units, and

            caused the Company to downgrade its unit forecast by approximately 12,000 units for the

            second quarter of 2017. QI 2017 Otezla net sales were approximately $60M less than the

            Ql budget.

                   c.       Second quarter Otezla sales in April 2017 prior to the April 2017 False

            Statement did not "rebound" from the unexpected first quarter of 20 17 shortfall. Further,

            internal Celgene documents demonstrated that Otezla sales would fall well short of the

            2017 guidance and latest forecast estimate by hundreds of millions of dollars applying run

            rates exiting the first quarter of 2017.



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                  d.    Otezla's PsO and PsA market share began decelerating in 20 16 and was

        flat-to-decl ining in the first quarter of 2017 and through April 2017.

                  e.    While Curran referenced increased market access based on new managed

        care contracts, she omitted that those contracts were not expected to yield any revenue

        growth in 20 17, and that the contracts underperformed Otezla's budget forecast in terms of

        expected prescription volume and market share.

                f.      In addition, the overall PsO and PsA markets were flat, underperforming

        market estimates built into the budget. Celgene recognized internally that declining market

        growth and market share cou ld alone have a $140 million impact on the 20 17 Budget.

                g.      Otezla's inventory far exceeded "normal" levels exiting the first quarter of

        20 17, causing a "significant" draw down in inventory and leading "inventory adjustment"

        to be one of the key factors "driving Q 1 weaknesses." At her deposition, Curran could not

        explain the discrepancy between the " minimal" drawdown of inventory, which she

        conveyed to investors, and the "substantial" drawdown of inventory that she had identified

        internally.

                h.     The level of"inventory stocking was a surprise" in the first quarter of 2017,

        and the I&I Group "probably would have set... the budget" based on the larger inventory

        so as to "factor that into our QI [forecast]."

                1.     There was significantly less demand for Otezla than forecast in the 2017

        Budget.

               J.      Third-party commissioned market surveys cited Otezla's lack of efficacy

        and side effects and concluded that the product had reached "market stasis." Those surveys

        also demonstrated that prescribers viewed Otezla as less effective than comparable



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         treatments for PsO and PsA. Other public reports reached similar conclusions, which were

         consistent with the overall assessment of Otezla by practicing physicians and the

         pharmaceutical industry.

                 k.     "Celgene did not adhere to well-accepted pharmaceutical industry

         performance assessment and forecasting principles when it projected 45% net revenue

         growth in its 2017 Otezla Budget," as "[m ]arket fundamentals did not support the growth

         targets set by Celgene for Otezla in 2017 ."

                 I.     Otezla experienced a 10.1 % decrease in new patient growth on a

         year-over-year basis from QI 2016 (15,600 new patients) to QI 2017 (14,030 new

         patients).

                 m.     Otezla's underlying business dynamics and its prospects for futme growth

         were not exceptionally strong as of April 27, 2017.

         106.    Because of these negative factors described above, and Otezla's underlying weak

  performance metrics, the Company's 2017 sales projection for Otezla was not reasonably

  attainable as of the April 2017 False Statement. Given Curran's knowledge of these undisclosed

  negative facts, the April 2017 False Statement was made with actual knowledge of the statement's

  falsity, and, to the extent necessary, any purported cautionary language that accompanied the April

  2017 False Statement was not meaningful.

                 8.     Otezla Continued to Underperform Multiple Key Performance Metrics
                        in the Second Quarter Of 2017 and Once Again Fell Short of the
                        Forecast

         107.    Otezla continued to underperform in the second quarter of 2017, as sales fell short

  of the second quarter of 2017 forecast, losing further ground as to the 2017 full year budget and

  public guidance. As in the first quarter of 2017, Otezla's second quarter 2017 sales were impacted

  by multiple negative factors that would have been relevant and apparent to an industry participant

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  in assessing Otezla's performance, including: (i) decelerating to declining growth in the overall

  PsO and PsA market, (ii) flat or declining Otezla market share, (iii) waning patient growth metrics,

  (iv) underperforming managed care contracts, and (v) floundering physician survey responses that

  further indicated market stasis. Overall, Otezla net revenues of approximately $600 million in the

  first half of 2017 underperformed the first half 2017 Budget by approximately $59 million.

          108.     The original 2017 Otezla Budget set a second quarter U.S. target of $318.3 million,

  so the U.S. figure alone fell short of the target in the second quarter of 2017 by $12.3 million.

  This incrementally added to the previous quarter's budget shortfall. With $505 million of U.S. net

  revenue by the end of the second quarter, another $804 million in Otez la net sales were required

  to achieve the 2017 goal set out in the 20 I 7 Otezla Budget, which would require the second half

  of the year to grow a full 60% relative to the first half. Celgene nevertheless reaffirmed the 2017

  net sales guidance for Otezla of $1.5 billion to $1. 7 billion.

          I 09.    Otezla 's market share was also flat-to-declining in the second quarter of 2017,

  which Curran recognized. On May 22, 2017, Curran presented an "Otezla update" to Celgene

  executive leadership using a slide deck that included statements such as: "Q2 Otezla market shares

  relatively flat in both PsO and PsA," and "March and April (MTD) volume indicates market is

  flat." Additional Otezla performance slides, received by Curran and other Celgene executives as

  late as July I 9, 2017, showed that PsO and PsA market share metrics were flat-to-declining.

          I I 0.   In addition, all three of the critical PBMs, Aetna, ESI, and Prime, underperformed

  their internal Celgene forecasts both in terms of total unit sales and Otezla's within-plan market

  share of an eight-drug market basket.

          111.     The overall national PsO and PsA markets also remained stagnant, failing to grow

  as forecast.



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         112.    Celgene also experienced even larger Otezla inventories exiting the second quarter

  of 2017 than exiting December 2016 (one of the factors "driving Q 1 weakness"), building to an

  abnormally high Otezla inventory of 24 DOH exiting June 2017.

         113.    By early-July 2017, Celgene downgraded its market share assumption both for

  payers with whom the Company had managed care contracts (the "deal" accounts), and for payers

  with whom it did not (the " no-deal" accounts). Data from the first quarter of 2017 showed that

  market share had "flattened" as to the no-deal accounts, suggesting "there does not seem to be

  anymore [sic] growth in volume at those accounts." Celgene downgraded the peak market share

  assumption for the " no-deal" scenario to a flat market share scenario.

         114.    Similarly, by early-July 2017, applying actual data and results, Celgene

  downgraded the peak market share assumption for the managed care "deal" scenario from 21 % to

  16%. The market share misses caused the managed care contracts to underperform by tens of

  thousands of units.

          115.   The last daily sales report prior to the July 2017 False Statement, released on

  July 25, 2017, stated that Otezla sales were performing at only 44% of the latest estimate year to

  date and only 18% quarter to date. Referencing that data, Corporate Finance executives, including

  CFO Peter Kellogg and Executive Director of Corporate Financial Planning and Analysis Steven

  Rosen, recognized that Otezla sales were averaging only $13.9 million per week through the first

  four weeks of July 2017, and that it would take $32.1 million in weekly sales per quarter end-

  36% higher than the weekly average in the second quarter of 2017, which missed the forecast- to

  achieve the third quarter 2017 Otezla forecast. Rosen estimated that the average forecast deficit

  under three scenarios that he and his team had considered was a third quarter 2017 budget variance

  of $50.8 million.



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         116.    In an email dated July 26, 2017, Celgene's Executive Vice President of National

  Sales informed sales personnel that Celgene entered the third quarter of 2017 requiring sales and

  prescriptions to "dramatically increase" given the "flat lined" prescriptions to date, stating: "The

  way the forecast is now the third quarter has to grow 17% over Q2 and the 4th qtr 23% over q3."

                 9.      Defendant Curran Misled Investors Regarding Otezla's Performance
                         in the Second Quarter of 2017, Including as to Otezla 's Market Share,
                         Prescriber Adoption, Key Performance Indicators, and the Company's
                         Ability to Achieve Its 2017 Public Guidance

          117.   On July 27, 20 17, Celgene published a public press release (exhibited with a Form

  8-K filing), disclosing that its "Previous 2017 Guidance" for Otezla was "Unchanged." Later,

  during Celgene's second quarter 2017 earnings conference call, Curran stated that " Q2 was an

  outstanding quarter of Celgene l&I, highlighted by significant sequential growth for OTEZLA.

  Key OTEZLA performance indicators continue to strengthen, and market share and prescriber

  adoption increased significantly in both U.S.         and internationally" (the "July 20 17 False

  Statement"). Curran's remarks about Otez la related to the drug's performance in the second

  quarter of 20 17, included materially misleading representations of current facts, and were not

  forward-looking.

          118.   Just two days prior to the July 20 17 False Statement, however, Curran herself

  recognized that Otezla's market share had not " increased significantly" in the second quarter.

  Specifically, among other things, on July 25, 2017, in the lead-up to the second quarter of 2017

  earnings call, Curran asked Douglas Bressette how he would "characterize US performance ...

  [s]ales are up significantly versus previous quarter and YOY with market share flat. Therefore,

  can I say it is a combination of market growth, price and improved Gtn?" In response, on July 25,

  2017, Bressette replied that "Overall Otezla's demand growth v. Q 1 on relatively flat market share

  generally tracked the systemic/biologic market basket growth over the same period." Curran then


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  wrote to Patrick Flanagan of Celgene Investor Relations that "Overall Otezla's demand growth v.

  Q l on relatively flat market share generally tracked the systemic/biologic market basket growth

  over the same period."

          119.     The underlying data in the chart that Celgene showed to investors during the

  Company's second quarter 2017 earnings call indicated that Otezla's market share within the

  s ix-drug basket decreased in the second quarter of 2017- just as it had in the first quarter of 2017.

  On July 24, 2017, Curran 's assistant emailed a copy of "Terrie 's slides" to Curran in connection

  with Celgene's upcoming earnings call on July 27, 20 17, which " reflect[ed] edits from today's

  prep session." A graphic in that presentation included a draft slide that was ultimately used during

  the earnings call. The underlying data for the graphic (which was incorporated into the slide deck

  itself) demonstrated that Otezla's overall U.S. PsO market share for a six-drug market basket

  decreased over the second quarter of 201 7, from 22.5% as of March 31, 20 17, to 2 1.7% on June 30,

  20 17. The June 30, 2017 Otezla market share of2 1.7% was more than a full percentage point

  below the December 20 16 and January 2017 figures (each 22.8%), and contrary to the assertion

  that Otezla market share "increased significantly" during the second quarter.

          120.     Additional Otezla market share data for an eight-drug market basket showed that

  Otezla's PsO and PsA market share decreased in the second quarter of 2017 (from 12.6% to 12 .1 %

  in the PsO indication and from 8.2% to 7.6% in the PsA indication). By all metrics, as Curran well

  knew, Celgene 's market share was "materially below" its "Target" levels.

          12 l .   During her deposition, Curran conceded that she described the market share as flat

  two days prior to her public comments, which was consistent with the July 19, 2017 slides she had

   received showing that Otezla's PsO and PsA 4-week market share metric declined between

  March 31, 2017, and June 30, 2017.



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           122.   Patient growth metrics also declined in the second quarter of 2017. Otezla's new

  patient growth (measured on a four-week rolling average basis) decreased throughout the second

  quarter by approximately 10.2% from the end of QI 2017 (14,030 new patients) through the end

  of Q2 2017 (12,724 patients).         That significant decrease was consistent with declining

  year-over-year growth for new patients, which also declined approximately 10.2% in Q2 2017

  compared to Q2 2016 (14,174 new patients in Q2 2016 compared to 12,724 new patients in Q2

  2017).

           123.   In addition, Otezla new prescription growth trends also decreased in the second

  quarter of 2017 on a four-week rolling average. Another metric, Otezla's NBRx, had peaked for

  both the PsO and PsA indications in August 2016 and had decreased from that high-point in the

  first and second quarters of 2017.

           124.   Additionally, Curran received negative information regarding prescriber views as

  to Otezla. On May 9, 2017, Curran and other I&I executives received slides regarding an updated

  Awareness, Trial, and Usage ("ATU") study conducted by a third-party to measure patient and

  physician satisfaction with Otezla. The study found that "Fewer than half of [dermatologists] are

  confident that patients will be satisfied with Otezla, putting it well below all other therapies but

  MTX [methotrexate]."       According to that presentation, Otezla ranked the lowest of all its

  competitors in the same market basket for PsO and PsA. Another third-party market study

  produced for Celgene in May 2017 concluded: "Efficacy, short-term tolerability, and access have

  always been Achilles heels for Otezla, and there is no sign that clinical impressions are improving,

  even while strides are being made to broaden access." The inferiority of Otezla led clinicians "to

  limit the use of [Otezla] to a very small segment of the psoriasis and psoriatic arthritis population."




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          125.   Curran also received additional information in advance of the July 2017 False

  Statement showing that Otezla's performance continued to vveaken in July 2017, betvveen the end

  of the second quarter of 2017 and the July 2017 False Statement. For example, on July 19, 2017,

  Curran received U.S. Otezla performance slides with sales data through July 18, 2017, wh ich

  showed that Otezla sales data as of July 14, 20 17 trailed the budget and latest estimate considerably

  on a monthly/quarterly (19.2% budget, 21.4% latest estimate) and yearly (74.7% budget, 84.0%

  latest estimate) basis.

          126.    The July 19, 2017 slides also reported a negative 10.6% 6-week over 6-week

  decline in net revenue. Based on a 12-week average run rate (which would have accounted for

  large Memorial Day and July 4th sales from the prior quarter, which stil l missed the budgeted

  forecast), Otezla sales were tracking at only 81.9% of the budget and 84.2% of the latest estimate.

          127.    Likewise, slides provided to Curran and other Celgene executives on July 21, 2017,

  in advance of an EBR meeting, projected tbat net product sales were trending $ 141 million under

  the third quarter 2017 forecast alone using actual sales run rates.

          128.    An internal "Otezla LE Update Q3-Q4 2017," dated July 31 , 2017, stated: "All

  metrics for Otezla show flat growth in the last months." Similarly, an "l&l Leaders" slide deck

  emailed to Terrie Curran on September 6, 2017, stated that Otezla's market dynamics and

  performance fell below expectations in the first half of 2017, with risk for the second half of 2017

  driven by:

                  a.        Substantially lower market growth vs. previous year

                  b.        Managed care controls restricting utilization in the Derm category

                  c.        Uptake in managed care 'wins' plans lower (and slower) than forecasted




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                     d.          Post-TNF source of business is declining and not replaced quickly enough

            with post-topical.

            129.     Several days later, on September 11 , 201 7, Curran emailed Steven Rosen

  confirming her understanding of specific, negative performance metrics throughout the year to

  date - including market share, market growth, and the performance of the managed care contracts

  - each of which was known to her prior to the July 2017 False Statement:

       •       Ovcrnll llatirrnul m:irkct share nmning flot vi: incrca~c forcca,l.:d in 20 17.
       o       f'sO MS goal was an im:r<.:aS<.: or 5,S%. assuming I S'% markct growth
       0       PsA MS gonl wns on incrca_s,· ol' 2.6%, a:.,suming 7.s'Yn market growth
       •       J\t tin1e or dt!vcloping 20 17 forc,ost go:ils, Otcz.lo MS wa, still showing signilkant grnwth
       •       facto1s pok:nlblly rnntril>uting lo fhll 1\·IS growth in 20 17:
       c,      New emr:tlll$ in PsO & PsA
       o       M.irh:t growth $lowing ,uorc than ,:.,p.:ctt:d
       o       More restrictive controls across all lvfC pl.ms
       ~>      --wins'' plan, h,1'1ing lower & slowcr upt,1kc th:m fim:,astcd
       •       Major non-,~in plans h:wt, ~hmvn m,gativc sh:uc lrcnds:
       o       Nol siw1i11g 2U 17 contr:wls Illa:,> have led t0 an ovcrnll clccl inc in national 111ork~1 $ho re vs. the c111·rc111 not slrnrc


            130.     In or around the same time in September 20 17, Rosen wrote to Hunter Smith's

  replacement: "My main concern here is that we can't have parallel numbers-the ones the

  franchise truly believes versus what they have shared with corporate--or we will never have a

  realistic view of the full P&L for management. But this is something we can discuss and work on

  going forward. I think your new role will help move this in the right direction. :)." Rosen meant

  that "a fundamental principle is that you want to have one version of the truth, so you need to make

  sure your collection and consolidation processes always lead to a single version of numbers that

  everyone is looking at and referencing."

            131.     Given Curran's knowledge of the foregoing undisclosed negative facts, the July

  20 17 False Statement was made with actual knowledge of the statement's falsity, and, to the extent

  necessary, any purported cautionary language that accompanied the July 2017 False Statement was

  not meaningful.




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            132.   On October 19, 2017, Celgene issued a public press release announcing that it was

  discontinuing Phase III clinical trials for GED-0301, an investigational compound being developed

  by Celgene's I&I division for the treatment of Crohn 's Disease. The press release stated that

  Celgene decided to stop the trials following an October 2017 recommendation of the Data

  Monitoring Committee, which assessed overall benefit/ri sk during a recent interim futility

  analysis.

                   10.    On October 26, 2017, Celgene Was Forced to Slash Otezla's Public
                          Guidance Due to Depressed Market Share, Decelerating Market
                          Growth, Inventory Issues, And Problems With Its Managed Care
                          Contracts - Conditions That Had Existed Throughout the Year But
                          Had Been Concealed From Investors - Leading to Large Investor
                          Losses

            133.   On October 26, 2017, Celgene issued a press release reporting Q3 2017 financial

  results and"[ u]pdating 20 I 7 guidance and financial targets for 2020." In the press release, Celgene

  announced that U.S. Otezla net sales for Q3 2017 were $250M and international net sales were

  $58M for a total of$308M Otezla net sales, a decrease of more than $ 100 million from the 2017

  Budget.

         134.      In the press release, Celgene announced in connection with its third quarter 2017

  earnings call that it had slashed Otezla 's 2017 guidance by more than $250 million - providing

  updated guidance of $1.25 billion compared to the prior guidance of $ 1.5 billion to $ 1.7 billion.

  Celgene also announced that it was lowering the 2020 revenue guidance for the l&I division, which

  included Otezla, from over $4B to $2.6B - $2.8B U,e., Celgene lowered the 2020 revenue guidance

  by $1.2B - $1 .4B).

         135.      On October 26, 2017, Celgene he ld a Q3 2017 earnings ca ll, which was publicly

  available by webcast at www.celgene.com. The earnings call was also transcribed. (SUMF ii 85)

         136.      During the October 26, 201 7 earnings call, Curran stated as follows:


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        Q3 2017 was both a challenging quarter for Celgene I&I as well as one of progress
        on several fronts. OTEZLA continued to produce double-digit year-on-year growth
        despite challenging psoriasis and psoriatic arthritis category headwinds. Key
        OTEZLA performance indicators were stable in an increasingly competitive
        market, and we remain focused on executing against several life-cycle initiatives
        that will expand the potential population for OTEZLA worldwide. We made good
        progress on the I&I pipeline and are very excited about the upcoming data
        presentation for ozanimod and MS at the ECTRIMS-ACTRIMS joint meeting in
        Paris later this week. The program remains on track for regulatory submission,
        beginning with the U.S. by year-end and the EMEA in the first half of 2019. We
        are focused on advancing enrollment for the Phase III UC study, TOUCHSTONE,
        and initiating the pivotal program in Crohn's disease. Lastly, we will be reviewing
        the results from the OTEZLA ulcerative colitis proof-of-concept trial by year-end.

        Global OTEZLA net sales for Q3 2017 were $308 million, which represents a 12%
        year-on-year increase. This revenue growth is being driven by positive U.S. TRx
        growth despite challenging market dynamics. Additionally, significant
        international growth is being driven by our success in securing a differentiated
        access position in key markets.

        In the past 2 years, the U.S. market for psoriasis and psoriatic arthritis grew
        strongly, posting TRx growth rates in the high teens versus previous years. This
        was fueled by new launches, including OTEZLA, '.Vhich expanded the total pool of
        patients on treatment. We assumed that category growth rates would maintain these
        historical levels in setting our 2017 targets.

        However, year-to-date through September, both markets have experienced a
        significant slowdown in growth as a result of increasingly restrictive PBM
        formulary control.

        While OTEZLA demand continues to outpace the overa ll market, we are seeing
        lower-than-expected revenue due to market deceleration, increases in gross-to-net
        discounts to drive biologic step-free access and inventory fluctuations.

        Since launch, OTEZLA rapidly established clear leadership in new-to-brand share,
        and this continues despite numerous competitive approvals. Consistent w ith our
        strategy, we continue to maintain leadership in patients in the treatment-naive
        setting, while share has been somewhat impacted in patients previously exposed to
        biologics. We remain committed to executing against our core strategies to further
        open up biologics step-free access, focus on the moderate, post-topical patient
        segment, execute impactful OTC efforts and further strengthen position advocacy
        based on real-world utilization.

        Now I'd like to comment on the progress OTEZLA is making in some key markets
        outs ide the United States. International revenue grew from $31 million in the third
        quarter of 2016 to $58 million in the third quarter of 2017, an increase of 87%. We
        expect ex-U. S. revenue contribution to continue to increase.

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         Our launch success in both France and Japan illustrate the importance of
         differentiated access as a key uptake driver. In France, uptake at l year since launch
         exceeds competitive benchmarks. Unlike biologics, OTEZLA does not require an
         initial prescription in the hospital setting and can be used in psoriasis after only one
         systemic failure versus 2 biologics.

         In Japan, OTEZLA has captured almost half of new-to-brand share of the total
         systemic market. Unlike biologics, OTEZLA can be prescribed in the community
         setting versus hospital only and has the broadest label among systemic treatments,
         including post topical.

         We continue to make solid progress in advancing several life-cycle initiatives to
         drive further OTEZLA growth. Importantly, we are pleased that the Phase III
         RELIEF trial evaluating OTEZLA for the treatment of active Beh9et's disease met
         its primary and key secondary end points across multiple measures of disease
         activity. We are planning global submission beginning in 2018. We believe these
         data are very compelling, and our goal is to become the first and only product
         approved globally for the treatment of active Beh9et's disease. We project this
         represents a total market opportunity of at least $100 million in peak revenue.

         Several other key plans are also advancing and represent further growth drivers for
         OTEZLA.

         137.    Celgene also reported global net sales of only $308 million for the third quarter of

  2017, a decrease of more than $1 00 mill ion from the 2017 Budget.

         138.    During the earnings call, Curran stated that Celgene missed its budget assumptions

  due to "lower-than-expected revenue due to market deceleration, increase in gross-to-net discounts

  to drive biologic step free access and inventory fluctuation. " Curran also referenced Otezla's

  depressed market share, which "has been somewhat impacted in patients previously exposed to

  biologics." Each of these conditions, however, existed as of the time of the April 27, 2017 and

  July 27, 2017 False Statements.

         139.    In response to these disclosures, the price of Celgene common stock declined by

  $19.57 per share, a I 6% decrease from the prior trading day. The cumulative abnormal stock price

  reaction was $18.72 per share. Analysts reacted negatively to the news, calling the Otezla results,

  among other things, a "surprise" and a "standout for the wrong reasons with a bad miss."


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         140.    Celgene's competitors publicly refuted that there was a slowdown in the overall

  psoriasis market in the third quarter of 2017, stating instead that market growth "has actually

  accelerated a bit" in the biologic segment "because you'll have patients that don't get adequate

  response on OTEZLA that then move on to a biologic." Instead, Otezla was "no longer gaining

  traction," and "that group of patients and that growth is no longer in the market."

         141.    Actual Otezla net revenues for full-year 2017 were $1.279 billion - including

  approximately $ 1.058 billion in U.S. Sales - falling approximately $221 million below the 2017

  Otezla Budget and Celgene's public guidance.

  Ozanimod

                 1.      Prior to the Class Period, Celgene Acquired Receptos and Announced
                         that it Would Submit the Ozanimod NDA by Year-End 2017

          142.   Another drug that Celgene sought to use to replace the Company's revenue stream

  from Revlimid was Ozanimod.

          143.   Ozanimod was initially developed by Receptos, a San Diego, California-based

  biopharmaceutical company, to treat Relapsing-Remitting Multiple Sclerosis ("RMS") and

  Ulcerative Colitis ("UC").

          144.   In July 2015, Celgene entered into an agreement and plan of merger with Receptos,

  pursuant to which Celgene would acquire Receptos and its drug, Ozanimod, for $7.2 billion

  through a series of merger transactions. In August 2015, Celgene completed its acquisition of

  Receptos, which resulted in Receptos becoming a wholly-owned subsidiary of Celgene.

  Ozanimod was incorporated into Celgene l&I.

          145.   Following the Receptos acquisition, Celgene immediately projected U.S. Food and

  Drug Administration ("FDA") approval of Ozanimod by 2018, and forecasted potential Ozanimod

  sales of up to $6 billion per year. Between 2015 and the start of the Class Period on April 27,


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  2017, Celgene repeatedly told investors that it ,,vould file a New Drug Application ("NDA")

  seeking FDA approval for Ozanimod by year-end 2017.

               a.      For example, on February 17, 2017, Celgene issued a press release which

        announced top-line results from the Phase III Sunbeam Trial for Ozanimod. The press

        release stated: "We look forward to data from the confirmatory phase III RADIANCE trial

        in the second quarter as we advance toward planned regulatory submissions by year-end."

               b.      On April 27,2017, Celgene filed a Form I 0-Q which stated: "We have phase

        III trials underway for ozanimod in relapsing multiple sclerosis." Celgene also issued a

        press release stating that "Celgene anticipates filing ozanimod for regulatory approval by

        year-end based on these data." On April 27, 2017, during Celgene's QI 2017 earnings call,

        Smith presented a slide titled "20 I 7 l&I Franchise Outlook." Under a section labeled

        "Advancing Ozanimod Development Programs in MS and IBD," a sub-bullet stated:

        "Submit ozanimod U.S. NDA in RMS and accelerate global commercial activities."

               c.      On July 27, 2017, Celgene issued a Form 8-K that stated that "[a]n NDA

        submission to the FDA, based on the combined phase III SUNBEAM™ and

        RADIANCETMtrials for RMS is expected by the end of2017." On July 27, 2017, during

        Celgene's Q2 2017 earnings call, Smith stated, "[j]ust to add on to the comments, we feel

        very, very good about the data that's emerging for ozanimod and looking forward to getting

        it out." During the same July 27, 2017 earnings call, Smith also presented a slide which

        stated: "Ozanimod positive top-line data in RMS; Advancing towards FDA filing by

        YE: 17." During Celgene's Q2 2017 earnings call, Curran presented slides stating that

        Celgene's I&I Franchise would "[fJile ozanimod U.S. NDA in RMS" by year-end 2017 and

        was "[p]reparing for regulatory submission to the FDA by YE: 17."



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         146.    Investors relied on Celgene's representations regarding the timing of the Ozanimod

  NDA in valuing Celgene's stock, as reflected in analyst commentary prior to the Class Period.

                 2.     During the Class Period, Martin and Other Senior Celgene Executives
                        Provided Information Regarding the Ozanimod NDA to Curran and
                        Smith

         147.    Martin received information regarding the status of the Ozanimod NDA from

  numerous leaders of the Ozanimod NDA project and in turn provided this information to Smith,

  Curran and other senior Celgene executives.

          148.   Jean-Louis Saillot, M.D. ("Saillot") was Vice President of Project Leadership,

  Regulatory Affairs, and Clinical Pharmacology at Receptos and reported directly to Martin.

          149.   Numerous leaders of the Ozanimod NDA project regularly provided information to

  Saillot and Martin regarding the Ozanimod NDA, including: Tran, Thomas, Kao, and David

  Wilson ("Wilson"), Clinical Bioanalytical Lead at Receptos, among others.

          150.   Martin, Saillot, Tran, Thomas, Kao, and Meier-Davis, among others, attended

  Receptos Executive Committee meetings.

          151.   Saillot, Tran, Meier-Davis, Kao, and Thomas attended Ozanimod MS Team

  meetings. The Ozanimod MS Team was a team of department leads responsible for the completion

  of the Ozanimod NDA. Beginning in 2016, Saillot led the Ozanimod MS Team. Other members

  of the Ozanimod MS Team included Meier-Davis, who was the nonclinical development lead, and

  Tran, who was the clinical development lead.

          152.   In addition, numerous senior Celgene employees were involved with the Ozanimod

  NDA and provided information to Martin, Smith and/or Curran about the Ozanimod NDA,

  including: Jay Backstrom ("Backstrom"), Celgene's Chief Medical Officer, and Matthew Lamb

  ("Lamb"), Celgene's Vice President and Global Head of Regulatory Affairs for I&I, among others.

  Florence Houn ("Houn"), Celgene's Vice President of Global Regulatory Science, also provided

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   information regarding the Ozanimod NOA to Lamb and Backstrom, who in turn provided

   information to Smith and Curran.

          153.   In his role as Chief Medical Officer, Backstrom led the regulatory affairs group.

   Backstrom reported to Mark Alles and Smith. Lamb reported to Backstrom.

          154.   Beginning in early August 2017, Martin, Saillot, Kao, Backstrom, and Lamb,

   among others, participated in regular "touch base" calls to discuss the progress of the Ozanimod

   NDA subm ission. These meetings were "important" because " there was a lot of work to be done

   between that time point in August and the subsequent NOA submission."

          155.   A personnel matrix dated March 9, 201 7 identifies individuals involved in drafting,

   reviewing, and approving portions of the Ozanimod NOA, including: Martin, Lamb, Saillot, Tran,

   Kao, Thomas, and Meier-Davis, among others.

          156.   Martin testified that it was "an important aspect of [his] job to make sure that ...

   Celgene was invo lved in the process in the decision-making process" regarding the Ozanimod

  NDA. Martin explained that the IIEC's role was to "ensme that the I&I franchise was well

   managed." Martin's main role on the IIEC "was to make sure that the IIEC members [including

   Smith and Curran] were aware of what the project teams were doing." Indeed, the IIEC "was a

   big component of communication to ensure that people are aware of what others are doing and ...

  for us to know what else is going on at Celgene[.]" Saillot confirmed that Martin made

  presentations to the IIEC and updated the IIEC with respect to the Ozanimod NOA during 2017 as

  "the voice of the group to the II EC."

          157.   Smith admitted that he "relied ... on information he received about ozanimod from

  Philippe Martin."




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                 3.      Curran Actively Monitored the Progress of the Ozanimod NDA

          158.   Curran regularly asked Martin questions regarding the Ozanimod NOA.              For

  example, Martin provided information regarding Ozanimod to Curran in advance of Celgene's

  April 27, 2017 earnings call, and Martin had conversations with Curran around July 2017 related

  to the Ozanimod mass balance data as "part of the communication that was required for the

  organization to know about the metabolite and what we are going to do about it."

          159.   After learning of the Metabolite (defined below), Curran became directly involved

  in assessing the risks that the Metabolite posed to the NOA timeline. Curran testified that after

  learning of the Metabolite in July 2017, she "was trying to ... understand the situation and reached

  out to guys that I thought would have expertise in the area." Curran testified that "there were

  meetings at both the IIEC, as well as the executive committee" regarding the Metabolite. On

  July 25, 2017, Curran forwarded Martin's email regarding the Metabolite (discussed below) to Jay

  Backstrom, Celgene's Chief Medical Officer. Curran testified that Backstrom was "the leader of

  the regulatory affairs team and... [her] peer on the executive committee," and he was "someone

  that [she] would have looked to for knowledge" about the Metabolite and its impact on the NOA.

  Curran also forwarded Martin's email to Matthew Lamb, head of I&I Regulatory Affairs. Curran

  testified that Lamb was "a regulatory expert" and someone who "sat on the IIEC" and "reported

  to [her] for a period of time."    On July 26, 2017, Lamb flagged for Curran "the potential

  implications" of the Metabolite discovery on the Ozanimod NOA, including "making sure the

  tox[icology] program has qualified the major metabolite" and that the "clin[ical] pharm[acology]

  studies were designed adequately to cover metabolite exposure, etc." Curran testified that based

  on Lamb's email, she understood that the NOA required both cli11ical and 11011cli11ical assessments

  of the Metabolite.



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            160.   On August 3, 2017, Backstrom forwarded Curran an agenda for a recurring meeting

  regarding the Ozanimod NDA, which included a review of " potential risks for the submission."

  Backstrom stated that "[t]his [meeting] should help with transparency," adding that Lamb "should

  be integral to the upcoming pre-NOA meeting" (discussed below). Curran responded, "I totally

  agree."    On October 11, 2017, Lamb forwarded Curran an update in which he flagged the

  importance of "having the opportunity to review the draft.pre-NOA meeting package prior to

  submission." Curran forwarded the message to Smith and Martin, stating: " We need to get much

  more visibility 011 the [Metabolite] data as it emerges."

            161.   Martin also circulated the FDA's November 21, 2017 Preliminary Meeting

  Comments (discussed below) to Curran and other Celgene executives on November 22, 2017.

  After receiving the Preliminary Meeting Comments, Martin was involved in assessing the risks to

  the NOA submission and discussing those risks with Celgene's senior management, including

  Curran.

                   4.     Smith and Curran Participated in Celgene's Quarterly Disclosure
                          Process and Drafted, Reviewed and/or Approved Celgene's Statements
                          Regarding the Ozanimod NDA

            162.   In his role as COO and President of Celgene, Smith routinely participated in

  meetings with other members of Celgene's management to review scripts and slides in advance of

  earnings calls and presentations, and had the opportunity to review and comment on each of

  Celgene's Forms 10-Q, 10-K, and 8-K after these filings were reviewed by the franchise presidents,

  including Curran. Each quarter, Smith participated in meetings with other members of Celgene's

  senior management to discuss relevant topics and "the important things for investors and others to

  know" in advance of quarterly earnings calls and investor presentations.




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          163.   In connection with his drafting, review and approval of Celgene's public statements

  regarding Ozanimod during the Class Period, Smith relied on information that he received from

  Martin, other members of the Ozanimod NDA team, and l&I leadership, including Curran.

          164.   As the President of l&I and Chairperson of the IIEC, Curran actively participated

  in Celgene's process for preparing and making public disclosures to the market regarding clinical

  development matters in the I&I franchise. Curran also attended Celgene's Executive Business

  Review ("EBR") meetings, during which the leaders of each Celgene franchise reviewed

  performance and operational trends.

         165.    At the time of Celgene's corporate statements in October 20 17 and in January and

  February 2018, Curran was responsible for providing and reviewing language in Celgene's

  earnings call scripts, investor slide decks, press releases and SEC Forms I 0-Q and I 0-K that

  discussed clinical development matters within the I&I franchise, including the Ozanimod NDA.

  As Smith testified, the quarterly disclosure meetings were attended by "the management who was

  going speak," which inc luded Celgene's "CEO, CFO, COO, president, and then the heads of the

  franchises," i.e., Curran, and any "cl inical development issues were handled by the franchise

  heads." Confirming Curran's active role in drafting, reviewing, and disseminating Celgene's

  statements, Curran presented slides discussing the Ozanimod NDA during the July 27, 2017 (Q2

  20 17) and October 26, 2017 (Q3 2017) earnings calls and spoke about the Ozanimod NDA during

  the January 25, 2018 (Q4 20 17) earnings call.

                 5.     Background on the FDA NDA Process, Drug Metabolism, and Mass
                        Balance Studies

         166.    The FDA's expectations regarding the content of NDAs are set forth in FDA

  guidance documents ("FDA Guidance") and Manuals of Policies and Procedures ("MAPPs"). The

  federal regulations governing NDAs state that the "FDA will maintain guidance documents on the


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  format and content of ND As to assist applicants in their preparation." FDA Guidance is "prepared

  for FDA review staff and applicants/sponsors to provide guidelines to the processing, content, and

  evaluation/approval of applications and also to the design, production, manufacturing, and testing

  of regulated products." MAPPs, in turn, are "federal directives and documentation of internal

  policies and procedures."

          167.    A drug sponsor that conducts a drug development program in a manner that is

  inconsistent w ith FDA Gu idance and industry customs and practices creates a significant risk that

  the FDA will take adverse action on the drug's application.

          168.    Because major metabolites have the potential to affect how a drug operates in the

  body, the FDA will consider whether any major metabolites exist and, if so, whether they affect

  the safety or efficacy of a proposed drug.

          169.    A human mass balance study- also referred to as an absorption, distribution,

  metabolism, and excretion ("ADME") study- is a study conducted during the drug development

  process that is used to identify and quantify the circulating parent drug and metabolites following

  the ingestion of a drug. Typically, a rad ioactive atom label is incorporated into the drug (usually

  carbon- 14 or tritium) and then the radiolabeled products are analyzed through a chromatographic

  process.

          170.    Mass balance studies are typically conducted prior to the initiation of Phase III

  clinical trials. It is important for an NDA sponsor to understand the way a drug is metabo lized and

  any toxicology and pharmacology implications of metabol ites produced in human trials, as the

  results of clinical species and human ADME studies will bear on the drng's reg istration and

  eventual usage. Therefore, an NDA sponsor should conduct mass balance studies prior to initiating

  large-scale Phase III trials.



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          171.   The FD A's Guidance on Safety Testing of Drug Metabolites ("MIST Guidance"),

  issued in 2008, calls for "the identification of differences in drug metabolism between animals

  used in nonclinical safety assessments and humans as early as possible during the drug

  development process" and warns that "[t]he discovery of disproportionate drug metabolites" -

  metabolites formed at disproportionately higher levels in humans- "late in drug development can

  potentially cause development and marketing delays." Development and marketing delays may

  be caused by, inter ctlia, safety concerns related to a newly discovered metabolite.

          172.   Pursuant to the FDA's MIST Guidance, disproportionate metabolites and

  metabolites "formed at greater than 10 percent of parent drug systemic exposure at steady state"

  can raise a safety concern and require additional testing, including safety testing, general toxicity

  studies, genotoxicity studies, embryo-fetal development toxicity studies, and carcinogen icity

  studies. As Lamb testified, " [i]f the metabolite accounts for greater than 10 percent of the parent,

  it is deemed a major acting metabolite, which then does require some additional characterization

  to be done."

         173.    As provided in FDA Guidance, absent agreement from the FDA, an NDA must be

  complete at the time of submission by the drng sponsor. Incomplete applications are subject to a

  "refusal to file" ("RTF") by the FDA.

         174.    An RTF indicates the FDA's rejection of the NDA based on facial inadequacies

  identified through a summary review of the NDA's contents.

         175.    Some review issues may render an NDA incomplete and result in an RTF letter

  from FDA.




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                  6.      NDAs Must Contain Bioanalytical Validation Data or Risk a "Refusal
                          to File"

           176.   FDA Guidance provides that, in connection with an NDA submission, a drug

  sponsor must submit ful l clinica l study reports ("CS Rs"), including bioanalytical validation reports

  containing long-term stabi lity ("LTS") data covering all samples that have been tested (or

  "assayed") for a given analyte.

           177.   Long term stability ("LTS") refers to the stability of a chemical compound(s) within

  a sample that is stored under the conditions used in a particular study over a period of time, i.e.,

  from when the sample was first collected to the time the sample is subsequently analyzed.

           178.   As explained by Plaintiff's FDA regulatory expert, Dr. Nicholas Fleischer,

  "[c]onsistent with the Bioanalytical Method Validation Guidance, the FDA considers a full cl inical

  study report (including for phannacokinetic studies) to be one that includes bioanalytical

  validation reports documenting that LTS has been established for 'all samples' that were analyzed

   in the study." Lamb testified that the FDA expects that an NDA include fu ll CSRs, which include

   bioanalytical and validation reports, " includ[ing] stability data."

           179.   Failure to include bioana lytical validation reports with an NDA is one example of

  a deficiency that may result in an RTF letter.

           180.   On March 2, 20 17, the FDA advised Celgene that "[fJull Clinical Study Reports are

  needed... at the time of the NOA submission." This FDA correspondence was distributed to

  Martin, Saillot, and Tran, as well as Thomas, Kao, and Meier-Davis.

                  7.      FDA Guidance Requires Sufficient Testing to Assess the Safety Profile
                          of a Metabolite that Constitutes the Majority of Human Exposure

           181.   As explained by Plaintiff's toxicology and pharmacology expert, Dr. Frederick

  Guengerich, FDA Guidance concerning the testing of metabolites "establishes standards for the

  pharmaceutical industry in conducting nonclinical safety assessments."           Based on this FDA

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  Guidance, "it is well-established that pharmaceutical companies must conduct sufficient testing to

  assess the safety profile of a disproportionate metabolite, and that a pharmaceutical company

  cannot rely on studies undertaken prior to the discovery of a new, disproportionate metabolite

  because those studies did not consider the impact of that metabolite."

          182.   The FDA and pharmaceutical companies evaluate the safety of a drug using an

  exposure multiple (also known as a safety multiple or margin of safety), which refers to the

  exposure to a certain substance in animals as compared to the exposure in humans. The exposure

  multiple is a ratio that is calculated by dividing the animal exposure by the human exposure: animal

  exposure/human exposure = exposure multiple. An exposure multiple of 1.0 or greater means that

  animal have been exposed to more of the substance than humans, and gives assurance that if the

  substance was going to present a safety issue, it would have been observed in animals because they

  were exposed to more of the substance than humans.

          183.    FDA Guidance provides that if a metabolite composes the majority of the total

  drug-related human exposure, the safety multiple achieved in the pivotal toxicology studies should

  be 1.0 or greater.

          184.    In order to calculate an exposure multiple for a metabolite, a drug sponsor must

  determine the actual exposure of the metabolite after administration in both humans and animals.

  Without such data, a drug sponsor is unable to demonstrate safety multiples greater than 1.0 as

  required by FDA Gu idance. As Dr. Guengerich explains, "nonclinical safety multiples based on

  estimated nonclinical exposure data" is "insufficient to evaluate toxicokinetic data for purposes of

  a safety assessment"




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                   8.     Celgene Discovered a New, Disproportionate Metabolite Late in the
                          Development Process that Derailed the Company's NDA Timeline

          185.     In accordance with the FDA's MIST Guidance, as well as industry customs and

  practice, Celgene should have conducted the Ozanimod mass balance study prior to the initiation

  of the Phase III clinical studies for Ozanimod.

          186.     Despite clear regulatory guidance to the contrary, the Ozan imod mass balance study

  was neither planned nor conducted until October 2016, late in the clinical development process

  and after the initiation of Phase III cl inical trials. As Saillot acknowledged in a "Q&A" document

  sent to Tran on July 17, 20 17, the "human mass balance study" was conducted "very late in the

  development of ozanimod." Saillot further stated: "Such studies are usually planned before or

  during Phase 2, so that the metabolic profile is completely understood before full clinical

  development and finalization of the non-clinical safety package, including carcinogenicity studies

  when needed. There is clear regulatory guidance on when such studies should be done, which was

  not followed."

          187.     When Celgene belatedly initiated the mass balance study in October 2016, it

  recognized that the work plan required to meet the December 2017 Ozanimod NOA fi ling

  comm itment was "heavily back-loaded" and put a " [h]uge workload on [the] team with little time

  for delays/errors."

          188.     As early as January 20 17, based on the preliminary results of the mass balance

  study, Celgene recognized the likelihood of a new metabolite being identified, potentially

  impacting the NDA submission. Internal communications and meeting minutes confirm th is

  concern.




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          189.   The MS NDA Submission Dashboard for the week of March 27, 2017, which was

  distributed to Martin, Saillot, and Kao, among others, confirmed that Celgene viewed the

  " [p]otential to identify a new metabolite" through the mass balance study as a "key issue[.]"

          190.   Over the following weeks, the Ozanimod MS Team worked to identify the new

  metabolite, noting the need for fo llow-up studies and the possibility that Celgene would need to

  delay the NDA submission to allow time to complete the necessary studies. In early April,

  Meier-Davis and Esther Martinborough, Executive Director of Biometrics at Receptos

  ("Martinborough") were tapped to lead a new team charged with overseeing the Metabolite studies.

          191.   On April 24, 2017, Martinborough sent a presentation to Martin and Saillot

  analyzing the mass balance study results that stated: "It appears that this new peak is real. ... [W]e

  are assuming that it is a single peak > 10% [of Ozanimod's systemic exposure]." The presentation

  specifically noted the possibility that Celgene would need to delay the NDA submission until

  September 2018 in order to perform additional studies of the newly-identified metabolite ("273"

  or "Metabolite").

         192.    Internal communications reveal that prior to July 27, 2017, the leaders of the

  Ozanimod NDA, including Saillot, Tran, Martinborough, and Meier-Davis were all acutely

  concerned with the Metabolite jeopardizing the NOA timing, noting the "importance and urgency"

  of conducting additional testing on the Metabolite, which they acknowledged "could have a

  significant negative impact on the NDA deliverables and timeline."            These concerns were

  communicated directly to Martin.

         I 93.   For example, on May 16, 2017, Sail lot implored Martin to " [p]lease, please, please

  reconsider" informing Smith of the Metabolite, stating: "In the best case scenario the December

  timeframe [for filing the NDA] is extremely optimistic. Anything that slows down the progress



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  (challenges 111 identification of the components of the peaks, etc ... ) will put that timeline 111

  jeopardy."

         194.    In connection with an Ad Hoc Executive Committee meeting on June 15, 2017,

  Tran prepared a presentation which was shared with Martin that stated that "RPI 12273 [the

  Metabolite] is pharmacologically active and more potent(> 10-fold) than Ozanimod .... RP] 12273

  is likely the major and active moiety accountable for most of ozanimod's efficacy and/or safety."

  On June 22, 2017, Martinborough stated in an email sent to Saillot, Martin, Tran, Meier-Davis and

  others that Celgene had "definitively confirmed RP-112273 as the peak in human plasma."

          195.   Following confirmation of the Metabolite, on July 5, 2017, Kao provided Saillot

  and Thomas with draft language for Celgene's pre-NOA meeting request to the FDA.

          196.   The FDA encourages applicants to schedule a "Pre-NOA Meeting" in advance of

  submitting an NOA, in order to facilitate exchanges of information about the submission. Before

  submitting the Ozanimod NOA, Celgene requested a pre-NOA meeting with the FDA, which was

  granted and scheduled for November 27, 2017.

          197.   In order "to permit FDA to provide the sponsor with the most useful advice on

  preparing [an NOA]," the FDA requires the sponsor to submit a "briefing book" "at least 1 month

  in advance of the meeting" containing: "(i) A brief summary of the clinical studies to be submitted

  in the application. (ii) A proposed format for organizing the submission, including methods for

  presenting the data. (iii) Information on the status of needed or ongoing pediatric studies. [and]

  (iv) Any other information for discussion at the meeting."

          198.   The language proposed by Kao acknowledged that Celgene would not have

  complete data for the Metabolite at the time of the planned NOA submission:

          PURPOSE OF MEETING.... Celgene is also seeking FDA feedback and
          agreement on our proposed plans for the nonclinical qualification and PK/PD


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         characterization of 112273, a recently-identified, active major metabolite of
         Ozanimod. Specifically, Celgene would like to obtain FDA confirmation that it
         would be acceptable to provide certain data regarding 112273 during the NOA
         review period [i.e., after the NOA submission] without delaying the PDUF
         performance goal date, on the basis that Phase 3 clinical trial data are already
         available and support the safety and efficacy of Ozanimod in RMS [relapsing
         multiple sclerosis] patients.

          199.   On July 17, 20 17, a "Q&A" document drafted by Saillot and sent to Martin posed

  the question: "What is the impact on the [NOA] submission [of the Metabolite discovery]?" The

  response: "Unaddressed this would lead to a Refusal to File by FDA." The document explained

  that Celgene's plan was " to negotiate submission of the NDA within the original timeframe, with

  agreement for additional data to be submitted during the review period." As Sail lot acknowledged,

  there was a substantial possibility that the FDA would reject this approach. The document

  described a "[b]est case" scenario wherein the FDA would accept the limited Metabolite data that

  Celgene would have by the time of the NOA submission, but warned of a " [p]ossible scenario"

  wherein the FDA requests additional data, delaying the NDA submission " by 1-2 Quarters" into

  early 2018.

         200.    On July 25, 20 17, Martin sent Curran an email, which he forwarded to Smith,

  stating that the " human mass balance study revealed a new disproportionate metabolite RP 112273

  (> I 0% of total drug related exposure) which was not previously detected in preclinical species,"

  noting that the "risk of a new metabolite[] was identified by the team in December 20 I 6." As

  Martin explained:

         As per FDA guidance on safety testing of metabolites (20 16), metabolites present
         at disproportionately higher levels in humans than in any of the animal test species
         should be considered for (non-clinical) safety assessment. Human metabolites that
         can raise a safety concern are those formed at greater than IO percent of parent drug
         systemic exposure at steady state. Since RP 112273 is the major(> 10-fold higher
         in exposure compare to the parent ozanimod) and pharmacologically active,
         adequate characterization of Clinical Pharmacology properties of RP 11 2273 is
         required by regulatory agencies.


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         201.    Martin's email to Curran and Smith cautioned that while "recent feedback" from

  Celgene's external consultants "indicates that our plan/data should be acceptable to the agency and

  allow us to keep the submission on schedule," "[a] lot of work remains to be done in a very short

  period of time in order to keep the submission on schedule." In other words, the viability of the

  NOA depended on whether the FDA accepted Celgene's proposed strategy for addressing the

  late-discovery of the Metabolite, i.e., submitting incomplete data at the time of the NOA

  submission and supplementing the NOA during the review period.

          202.   Celgene's plan to submit an incomplete NOA was inconsistent with FDA Guidance

  regarding the issuance of RTFs, which provides that absent agreement from the FDA, an NDA

  must be complete at the time of submission by the drug sponsor. The Manual of Policies and

  Procedures, Good Review Practice: Refuse to File issued by the FDA's Center for Drug Evaluation

  and Research ("CDER") similarly "emphasize[s] CDER's expectation that applications are to be

  complete at the time of submission and that a piecemeal approach to building a complete

  application through amendments following initial submission is unacceptable."

          203.   On July 26 and 27, 2017, an email chain described the Metabolite as " material

  information shared on a need-to-know basis," stating that it had "the potential for major

  implications for the [NDA] submission[.]" The email confirmed this material information had

  already been shared with Martin, Smith, and Curran, among others.

          204.   Despite the internal recognition that the Metabolite jeopardized Celgene's NDA

  time line, on July 27, 201 7, Celgene issued a series of statements regarding the Ozanimod Phase

   III clinical trials and the Ozanimod NOA, none of which disclosed the Metabolite discovery or the

   risks it posed to the NDA. These corporate statements were made in the Company 's 2Q 2017

   Form 10-Q, in slides presented during Celgene's 2Q 20 17 earnings call and published on the



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   Company's website, and in a Form 8-K. In these statements, Celgene touted, inter alia, the

  " positive top-line data" in the ongoing Phase III Ozanimod clinical trials, told investors that

   Celgene was "[p)reparing for regulatory submission to the FDA by YE: 17," that the NDA was

  "advancing towards FDA filing by YE: 17," and that Celgene would " [fJile ozanimod U.S. NDA

   in RMS" by year-end 2017." Celgene's July 27, 2017 public statements regarding the Ozanimod

  NOA did not mention the Metabol ite or the risks the Metabolite posed to Celgene's NDA timeline

  or the likelihood of FDA approval. Curran participated in the quarterly disclosure process that led

  to Celgene issuing the July 27, 2017 statements, including by reviewing drafts of Celgene's 2Q

  2017 Form 10-Q and by presenting slides containing these corporate statements during Celgene's

  2Q 2017 earnings calI.

          205.    Notwithstanding the fact that Celgene "definitively confirmed RP-112273 as the

   peak in human plasma" on June 22, 20 17, and the fact that the Metabolite ,,vas a pharmacologica lly

  active metabolite that accounted for 89% of the total exposure, Celgene sponsored an article

  authored by Tran and other Celgene employees published in the Journal ofClinical Pharmacology

  in Drug Development on August 7, 2017, which discussed Ozanimod's safety profile and identified

  and described three pharmacologically active Ozanimod metabolites (RP IO 1988, RP 101075, and

  RP I 0 1442) but not the Metabolite.

                  9.     Defendants Knew or Recklessly Disregarded that Celgene Would Not
                         Have Complete Clinical Study Data to Support the NDA at the Time of
                         October 2017 Ozanimod Misstatements

          206.    In addition to concealing the discovery of the Metabolite and the need for additional

  testing, Celgene knew or recklessly disregarded that the FDA would reject the NDA without

  complete LTS data for the Metabolite- a necessary component of clinical study reports- w hich

  further rendered Celgene's publicly-announced NOA timeline untenable.



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          207.   On June l , 20 17, Tran asked Wilson if Celgene could reuse old plasma samples

   from previously conducted clinical studies to measure and analyze the Metabolite.            Wilson

  explained that "LTS becomes a real concern" as the FDA "won't consider the data as validated."

  Wilson advised Tran that Celgene would need between 15 months and 4 years ofLTS data to cover

   the samples from several Phase I and Phase III clinical pharmacology studies-data that Celgene

   would not have by December 2017 when it planned to subm it the NDA.

          208.   Tran relayed this information at a June l , 20 17 Receptos Executive Team meeting,

  presenting slides on the "Impact of new peak on Clinical Pharmacology Strategy"-the " new

  peak" being the Metabolite. The presentation stated, "Primary concern: PK [pharmacokinetic]

  sample stability. Regulatory agencies will not consider data validated due to lack of long-term

  stability (LTS) data."

          209.   On June 15, 2017, Tran warned Martin and the Receptos Executive Committee that

  "Adequate characterization of RPI 12273 PK and PD properties are required by regulatory

  agencies," including "[a]nalytical: Information on the stability of the analyte ...."          Tran's

  presentation further emphasized that the test results must be "considered validated by regulatory

  (i.e., with long-term stability data)," and that " results are not considered validated due to lack of

  long-term stability data for PK samples at the time of filing [the NOA]."

          210.   On July 17, 2017, Tran gave a slide presentation to Martin and the Receptos

  Executive Committee entitled, "Clinical Pharmacology Strategy for RP 112273 to support NDA

  submission and review." This presentation was also sent to Martin. On a slide titled "Summary

  of available Clinical Pharmacology data for Ozanimod at NAD [sic] submission (Dec 20 I 7) and

  during NOA review (20 I 8)," Tran foformed Martin and the Executive Committee that Celgene




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  would have " [l]imited PK characterization of RP112273 in RMS patients (with no long-term

  stability data)" at the time of the NDA submission in December 20 17.

         2 11.   On July 20, 20 17, Martin, Saillot, and Tran, among others, met with Celgene's

  external consultants Dr. Lawrence Lesko ("Lesko"), Dr. Russell Katz ("Katz"), and Dr. David

  Jacobson-Kram ("Jacobson-Kram"), ostensibly to discuss its plan to provide the FDA with

  additional LTS data for the Metabolite during the NDA review period.          However, the slide

  presentation prepared for the July 20, 20 17 meeting with these consultants did not contain any

  information regarding the amount of LTS data for the Metabolite that Celgene planned to include

  in its NDA submission, the portion of samples from the relevant clinical pharmacology studies that

  would be covered by this data, or any detail regarding when Celgene planned to submit additional

  LTS data.

         212.    Lesko testified that he never told Celgene at the July 20, 2017 meeting that the FDA

  would accept the Ozanimod NDA without the complete characterization of 273 .

         2 13.   On August 1, 2017, Wilson sent Tran a presentation that confirmed Celgene needed

  substantially more long-term stability data- between approximately one and three years of data-

  that Celgene would not have by December 2017, when it planned to submit the NOA.

         2 14.   Ahead of an I&I Regulatory Affairs meeting on August 10, 2017, Saillot circulated

  a set of slides to Lamb, Kao, and Thomas, including one stating under the heading "Bioanalytical"

  that Celgene needed to "Develop and validate human plasma method for the analysis of

  RP 11 2273," and warning that "Incomplete Clinical Pharmacology package can potentially lead to

  Refusal to File."

         2 15.   On September 18, 2017, Wilson sent Tran updated long-term stability calculations

  for the previously conducted studies of Ozanimod which indicated that Celgene would not have



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  sufficient LTS data for its NOA if it were to be submitted by the targeted goal of December 20 17.

  Specifically, Wilson reported that Celgene would not have sufficient LTS data for multiple studies

  until at least August 2018 (Study 1906) or December 2018 (Study 1904), and in many cases not

  unti I 2019 or later (Studies 1908, 1905, 1902, 301, 201B, and 201 A).

         2 16.   Despite Celgene's knowledge that it would not have sufficient LTS data to support

  the planned December 2017 NOA submission and the recognition by Celgene's senior Regulatory

  Affairs employees that an " Incomplete Clinical Pharmacology package can potentially lead to

  Refusal to File," on September 26, 2017 Celgene publ ished a slide presentation on its website

  claiming that Ozanimod was"[o] n-track for NDA submission by YE: I 7."

         2 17.   In October 20 17, Celgene finalized its "Briefing Book," a document that is

  customarily submitted to the FDA in advance of the scheduled pre-NDA meeting with the goal of

  reaching agreement with the FDA on the planned course of action for submitting the NOA.

         218.    On October 19, 2017, Lamb forwarded a copy of the draft Briefing Book to Haun,

  which contained Celgene's proposal to submit LTS data for the Metabolite to the FDA after

  submitting the NOA in December 20 17. In his email to Haun, Lamb stated: " Personally, I don't

  fee l the package is ready for submission and requires substantial rework." Lamb testified that his

  reaction to the draft Briefing Book was that Celgene should "wait for the Ozanimod NOA

  submission until [they]'ve completed the studies and CSRs [he] identified." After reviewing the

  document, Houn agreed: "I don't see the rationale for the delayed metabolite characterization

  submission by 4 months with the other late CSR submissions."

         2 19.   On October 20, 20 17, prior to her review, approval and active participation 111

  issuing Celgene's October 26, 2017 corporate statements, Lamb sent Curran his comments to the

  Briefing Book. On its face, the Briefing Book acknowledged that Celgene could not complete full



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  and adequate testing on the Metabolite by December 2017, and so requested the FDA's permission

  to submit an admittedly incomplete NDA. These facts were hard to miss. In fact, the proposed

  intervals for the submission of LTS data- "approximately 1, 6, 12, 15, 18, 24, 30, and 36 months"

  after the NDA- reflect the amount of time needed to generate the LTS data. As explained by

  Plaintiff's regulatory expert, Dr. Fleischer, in order for clinical study data to be considered

  validated by the FDA, a drug sponsor must demonstrate that the substance being analyzed remains

  stable under the same storage conditions for longer than the period within which the sample is

  analyzed. In other words, it was impossible for Celgene to generate the required LTS data any

  sooner than the timeline proposed in the Briefing Book, hence Celgene's request for permission to

  provide LTS data on a rolling basis after the submission.

         220.    The Briefing Book acknowledged that Celgene would not have the required LTS

  data at the time of the planned NDA submission at year-end 20 17 and sought agreement from the

  FDA that its plan to submit incomplete data would be acceptable. The Briefing Book stated:

  "Specifically, Celgene would like to obtain FDA agreement that it would be acceptable, given the

  scope of the information included in the initial NDA, to provide additional clinical pharmacology

  data regarding RP 112273 early in the NDA review period ..."

         22 1.   The Briefing Book included two questions regarding the acceptability of Celgene's

  deficient LTS data:

          Question 4: Does the Agency agree that the overall proposed clinical pharmacology
          package, including the additional information planned to be provided early in the
          NOA review, is acceptable and supports the filing for the registration of ozanimod?

          Question 5: Does the Agency agree with Celgene's proposed timing for the
          bioanalytical [LTS] data package for the recently-identified major and active
          metabolite RPI 12273?

          222.   In the Briefing Book, under the heading "Supportive Information for Question 5,"

   Celgene stated that it would not have the required LTS data by the time of the anticipated NOA

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  submission in December 20 I 7 and proposed to submit the additional required data beginning s ix

  months after the December 2017 submission and at regular intervals thereafter, stating:

         "[LJong-term storage stability (LTS) assessments... is ongoing as required to cover
         samples from the previously completed clinical studies. A method validation report
         will be provided following completion of core validation activities.... Validation
         report addenda will be prepared following completion of LTS assessments at
         intervals of approximately I, 6, 12, 15, 18, 24, 30, and 36 months ....

          Celgene plans to provide bioanalytical data as follows:

          In the NDA Submission: ... As noted above, the validation report for RPI 12273 ...
          will not include LTS assessments ....

          By the 120-day safety update:... Addendum to RP 112273 plasma assay validation
          report... to include... some ongoing LTS assessments ....

          Subsequent updates: Ongoing LTS assessments to cover required analysis ....

          223.   Celgene's Briefing Proposal confirms that the Company knew the LTS data was

   incomplete and that an exception to the FDA's requirements was necessary in order to submit the

  NDA in December 2017.

          224.    Despite these and other similar internal concerns, Celgene submitted the Briefing

  Book to the FDA on October 27, 2017.

          225.   Notwithstanding this information, which was known to both Curran and Martin, on

   October 26, 2017, Celgene touted its "phase III trials underway for ozanimod," told investors that

   it was " [p]reparing for regulatory submission [of the Ozanimod NDA] to the FDA by year-end,"

   that Celgene would "would "[s]ubmit ozanimod U.S . NDA in RMS by YE:1 7," and characterized

   Celgene's "[o]zanimod FDA filing in RMS by YE: 17" as an inflection point that would drive

   growth for Celgene. These corporate statements were made in the Company's 2Q 2017 Form

   I 0-Q, in slides presented during Celgene's 2Q 201 7 earnings call and published on the Company 's

   website, and in a Form 8-K. These statements included materially misleading representations of

   current facts and were not forward-looking. Curran participated in the quarterly disclosure process

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  that led to Celgene issuing the October 26, 2017 statements, including by reviewing drafts of

  Celgene's 3Q 2017 Form I 0-Q and earnings call presentation, and by presenting slides containing

  these corporate statements during Celgene's 3Q 2017 earnings call.

         226.   On October 28, 2017, the day after Celgene submitted its Briefing Book, Martin

  participated in Celgene's Investor Event at the MSParis2017- 7th Joint American-European

  Committee for the Treatment and Research in Multiple Sclerosis ("ECTRIMS"), during which

  Martin stated that " [f]or the FDA, we are working hard as we speak to get ready to file [the

  Ozanimod NDA] by the end of the year." Martin's October 28, 2017 statement included materially

  misleading representations of current facts and was not forward-looking. At the time of this

  statement, as discussed above, Martin knew about Celgene's Briefing Book proposal and had

  received extensive additional information concerning the Metabolite and the Metabolite's impact

  on the timing of the Ozanimod NDA submission. Martin admitted that he relied on " information

  he received from the Ozanimod project team, including Jean-Louis Saillot, Jonathan Tran, Esther

  Martinborough, David Kao, Susan Meier-Davis, and Gerlee Thomas" and that his October 28,

  2017 statement "was informed by numerous documents, meetings, correspondence, and

  discussions relating to Ozanimod throughout 2017." Curran also reviewed drafts of Celgene's

  October 28, 2017 ECTRMIS presentation.

         227.   Defendants' October 26 and 28, 2017 public statements regarding the Ozanimod

  NDA did not mention the Metabolite, Celgene's Briefing Book proposal to the FDA to submit

  incomplete LTS data, or the risks this proposal posed to Celgene's NOA timeline or the likelihood

  of FDA approval. Critically, at the time of the October 26 and October 28, 2017 statements,

  Defendants Curran, Martin and Celgene did not know whether Celgene's proposal to submit LTS

  data after the NDA submission in December 2017 would be acceptable to the FDA. Given



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  Curran's and Martin's knowledge of these undisclosed negative facts, Celgene's October 26, 2017

  statements and Martin's October 28, 2017 statement were made with actual knowledge that the

  statements were materially false or misleading when made, and, to the extent necessary, any

  purported cautionary language that accompanied these statements was not meaningful.

         228.      Curran also promoted the Ozanimod NDA at other investor events in October 2017,

  including the ECTRIMS conference. Curran also touted Ozanimod's revenue potential in meetings

  with analysts.    Moreover, Curran knew that analyst estimates of Celgene's pipeline revenue

  assumed that the NOA would be submitted on schedule.

         229.      Internal communications confirm that Defendants were motivated to conceal the

  risks that the incomplete LTS data posed to the Ozanimod NDA in their statements on October 26

  and 28, 2017 because Defendants sought to reassure investors following Celgene's announcement

  on October 19, 2017 that it was scrapping development of GED-0301 , its development-stage

  ulcerative colitis and Crohn's Disease drug, and its dramatic reduction in its Otezla sales guidance

  on October 26, 2017. These negative developments put additional pressure on Celgene to deliver

  on Ozanimod given the looming loss of Revlimid revenue. For example, a draft Board note from

  Celgene's CFO, Peter Kellogg to Celgene's CEO, Mark Alles, on October 24, 2017 stated: "We

  expect that tomorrow could be a volatile day for the stock. The new Otezla trends/outlook and the

  revised 2020 Targets will cause some investors to become more concerned about our Horizon 2

  profile [2022-2025] and whether we have enough pipeline to offset the LOE [loss of patent

  exclusivity] events in [Horizon 2]. While providing clarity regarding our 2020 outlook will be

  very helpful, we will... leverage our ozanimod phase 3 MS data at ECTRIMS this weekend to

  begin to shift the conversation to our pipeline and growth drivers."




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         230.   Investors were encouraged by Defendants' October 26 and 28, 2017 statements

  regarding the Ozanimod NOA, particularly in light of Celgene's recent I&I disappointments. For

  example, an October 30, 2017 First Word Pharma Plus article stated that "Celgene experienced a

  frightful October in which its market cap fell by almost a third after [GED-0301 's] implosion

  fueled doubts about Revlimid's longevity, so it will come as some rel ief that last week's

  RADIANCE and SUNBEAM results produced no big surprises, especially considering the added

  importance that ozanimod... lives up to its mega-blockbuster potential." This article and similar

  reports were sent to Smith, Curran, Martin.

         231.    Internally, Defendants acknowledged the strong likelihood that the FDA would

  reject Celgene's piecemeal LTS proposal, as evidenced by the fact that Defendants began planning

  for the FDA's eventual rejection of the Briefing Book proposal and likely need to delay the

  submission. On November 20, 2017, Lamb emailed Curran about spending "$150 millio11" on a

  priority review voucher ("PRY"), which is a mechanism for a new drug applicant to expedite the

  FD A's review of an NOA, in the event "the FDA makes a strong recommendation that we shouldn't

  submit the NOA until we have all the information on the metabolite available and we decide to

  wait until March-April 2018 to submit the NOA." Curran stated that she agreed with Lamb's plan.

  Curran and Lamb then discussed the issue with Smith and Martin.

         232.    The fact that Curran actively engaged in this contingency planning demonstrates

  that Curran knew that the FDA was very likely to say no to the Briefing Book proposal. These

  conversations assumed the FDA's rejection of the proposal and the likely need to delay the

  submission. The rationale for this planning included "the possibility the FDA might recommend

  Celgene wait until March or April of2018 to submit the NOA." Given Curran's awareness of the

  underlying facts requiring such contingency planning at the time she made or approved Celgene's



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  October 2017 Ozanimod statements, these communications prove that Curran knew or recklessly

  disregarded that the October 2017 statements were materially false or misleading when made.

                 10.     Defendants Knew or Recklessly Disregarded that Celgene Would Not
                         Have Complete Non-Clinical Data to Support the NDA at the Time of
                         the October 2017 Ozanimod Misstatements

         233.    As early as January 2017, Celgene recognized that " [i] f a significant new

  metabolite is identified, then we will not have sufficient toxicology [data] to support the [NOA]

  submission." This is because, as Dr. Guengerich explains, "Celgene needed to establish that it

  could demonstrate the safety of [the Metabolite] through the previously-completed non-clinical

  studies such that it did not need to repeat those studies, which would take years and significantly

  delay the NOA submission." However, "Celgene was unable to demonstrate safety multiples

  greater than 1.0 for [the Metabolite] in certain of the nonclinical studies" because "there were not

  adequate exposure levels to evaluate toxicokinetic data for purposes of a safety assessment."

         234.    Celgene employees working on the Ozanimod NOA repeatedly flagged that the late

  Metabolite discovery meant that the current non-clinical toxicology data would be insufficient.

  For example, a March 28, 2017 presentation sent by Zoller to Saillot stated that the"[c]urrent tox

  data package would not be sufficient if a new metabolite is identified in the [mass balance study],"

  acknowledging this as a "Potential Risk[] to the Ozanimod Subm.ission." Similarly, an April 24,

  2017 presentation sent to Martin and Saillot warned of the possibility that Celgene would need to

  delay the NOA subm ission by eight months (to September 2018) in order to perform a non-clinical

  rat carcinogenicity study.

         235.    In a July 6, 201 7 email to Meier-Davis, among others, Tran stated that Celgene

  would not have "the actual human exposure [for 273] until end of August/early September." This

  "actual human exposure" data was needed in order to calculate the non-clinica l safety multiples

  for the animal toxicology studies and determine whether these multiples exceeded the

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  FDA-mandated threshold of 1.0 or greater required for the NOA. As Dr. Guengerich explains,

  without the actual human exposure data, Celgene had no way of determining whether the exposure

  multiples generated with the previously-conducted toxicology studies would be sufficient or

  whether Celgene would need to re-run these studies.

         236.    During the July 20, 2017 meeting with some of Celgene's external consultants,

  Jacobson-Kram flagged the FDA's exposure multiple requirements.              In an email to Tran

  (subsequently forwarded to Saillot, Martinborough, and Meier-Davis), Jacobson-Kram stated: "I

  did not want to interrupt the discussion but in looking at FDA guidance, there is a new twist."

  Jacobson-Kram then quoted the portion of the FDA Guidance calling for safety multiples of 1.0 or

  greater when a metabolite composes the majority of total human exposure, as is the case with 273.

  Jacobson-Kram told Tran to "[p]lease mention this to the group." Significantly, as discussed

  below, the FDA would later cite this exact provision from the FDA guidance in the November 21,

  2017 Preliminary Meeting Comments in discussing what the FDA required in the NDA

  submission.

         237.    Importantly, the sl ide deck Celgene presented at the July 20, 2017 meeting with its

  consultants contained only estimated human exposure data for 273.             Therefore, the FDA

  consultants could not render any advice as to whether the exposure multiples generated with the

  previously-conducted toxicology studies \.vould be sufficient under the FDA's requirements.

         238.    The July 20, 2017 presentation also failed to inform Celgene's consultants that

  Celgene intended to rely on estimated (not actual) animal exposure data in the NOA submission,

  which contravened industry practice. As Dr. Guengerich explains: " [T]he analysis used to estimate

  these multiples (metabolite: parent ratio) is flawed from an analytical standpoint because [the

  Metabolite] was not characterized in terms of its identity or its separations from other metabolites.



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   Given the lack of actual, validated [Metabolite] exposure data for certain of the animal species,

   any metabolite: parent ratios cannot be deemed accurate or reliable."

          239.    Finally, the July 20, 201 7 slide presentation indicated that the safety multiple for

   the 6-month mouse carcinogenicity study was 0.8, but fai led to disclose that the dose used to

  generate this multiple exceeded the maximum tolerated dose ("MTD"), thus rendering this data

  point invalid. As Dr. Guengerich explains, safety multiples are typically calculated using the

  recommended human therapeutic dose and the No Observed Adverse Effect Level ("NOAEL")

  dose in animals, which is a dose at which no adverse effects are seen. However, Celgene calculated

  the exposure multiple for certain studies (including the 6-month mouse carcinogenicity study)

   using a dose above the MTD- the maximum tolerated dose, which exceeds the NOAEL dose. As

  Dr. Guengerich explains, "toxicity data obtained w ith mice treated above the MTD dose should

  not be used to calculate [a safety multiple]" because "any dose exceeding the MTD has some

  inherent toxicity." Indeed, in an August 1, 20 17 email, Meier-Davis expressly told Jacobson-Kram

  not to consider the safety multiple from the 6-month mouse carcinogenicity study because the dose

  used to generate that multiple exceeded the MTD.

          240.   Jacobson-Kram repeatedly raised the need for sufficient exposure multiple data in

  subsequent emails to Meier-Davis on August l and August 23, 20 17. Jacobson-Kram warned

  Celgene that it may need to " repeat an entire M3 package [of toxicology studies] for [the

  Metabolite]" as the FDA might consider Ozanimod to be a prodrug- a biologically inactive

  molecule that is metabolized into an active drug- necessitating additional toxicology studies. As

  Jacobson-Kram explained on August 23, 2017: "The risk is [the FDA] may consider ozanimod to

  be a prodrug; that may require that RP 11 2273 be studied at higher exposures."




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         241.    On September 19, 2017, Tran provided Meier-Davis and Martinborough the actual

  human exposure value data for the Metabolite. This data showed that the actual human exposure

  of the Metabolite was 155,716 pg*h/mL, more than double Celgene's July 2017 estimate of75,410

  pg*h/mL.

         242.    The actual human exposure data invalidated any prior input from Celgene's

  consultants regarding the adequacy of the exposure multiples for the Metabolite in several

  pre-clinical Ozanimod animal studies. For example, the slide presentation used at the July 20,

  2017 meeting represented that, based on the estimated human exposure, the 273 safety multiple

  for the 2-year rat carcinogenicity study was 1.4, i.e., above the 1.0 safety multiple required by FDA

  Guidance. However, when calculated with the actual human exposure data, this multiple was

  reduced to just 0.8-i.e., below the necessary 1.0 threshold. Because the safety multiple for the

  2-year rat carcinogenicity study included in the July 20, 2017 slide presentation was unsupported

  by actual exposure data, any advice rendered by the Celgene's consultants at the time of the

  July 20, 20 17 meeting was premised on incomplete data and thus was unreliable.

         243.    In the Briefing Book Celgene subm itted to the FDA on October 27, 2017, Celgene

  posed the following question regarding the sufficiency of the non-clinical data for the Metabolite:

         Question 3: Does the Agency agree that the proposed nonclinical package, including
         the evaluation of major metabolites, is adequate to support the filing for the
         registration of ozanimod?

         244.    Under the heading "Supportive Information for Question 3," Celgene included a

  table indicating that: (i) the exposure multiple for 273 in the 2-year rat carcinogenicity study was

  0.73; (ii) the exposure for 273 in the rat EFD study was 0.2; and (iii) the exposure multiple for the

  rabbit EFD study was 0.03. These exposure multiples were all below the 1.0 exposure multiple

  requ ired by FDA Guidance, and also substantially lower that the multiples presented to Celgene's

  consultants at the July 20, 2017 meeting, which relied on estimated human exposure data.

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  Celgene's Briefing Book thus aclmowledged that Celgene could not satisfy the required exposure

  multiple for multiple non-clinical stud ies, and needed the FDA to agree to an exception in order

  for Celgene to be able to submit the NDA as planned in December 2017.

         245 .   As Saillot testified, the "FDA's wi llingness to accept post-marketing commitment

  for these type of issue [sic] is less than in the past." Celgene's expert consultants agreed. Dr.

  Jacobson-Kram described Celgene's arguments as "som ewhat 1111precede11ted," adding that

  "[u]nfortunately, you are dealing with a very conservative [FDA] division[.]" Dr. James

  MacDonald ("MacDonald"), another Celgene consultant, similarly described Celgene's Briefing

  Book proposal as a "red flag," and testified that Celgene "clearly had a problem" because there

  was a "firestorm of co11cem [in] regulatory circles around human specific metabolites" and

  "differential exposures" were "a white hot area offocus."

         246.    Notv,1 ithstanding this information, which was known to or recklessly disregarded

  by Curran and Martin, on October 26, 20 17, Celgene touted its "phase III trials underway for

  ozanimod," told investors that it was " [p]reparing for regulatory submission [of the Ozanimod

  NOA] to the FDA by year-end," that Celgene would "would " [s]ubmit ozanimod U.S. NDA in

  RMS by YE:17," and characterized Celgene's " [o]zanimod FDA filing in RMS by YE: 17" as an

  inflection point that would drive growth for Celgene. On October 28, 2017, the day after Celgene

  submitted its Briefing Book, Martin stated at the ECTRIMS investor event that " [fJor the FDA,

  we are working hard as we speak to get ready to file [the Ozanimod NOA) by the end of the year."

  These statements included materially misleading representations of current facts and were not

  forward-looking.

         247.    Both Curran and Martin reviewed a draft of Celgene's Briefing Book before it was

  submitted to the FDA on October 27, 2017. Curran received a copy of the Briefing Book on



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  October 20, 2017, prior to her review, approval and active participation in issuing Celgene's

  October 26, 2017 corporate statements and Martin's October 28, 2017 statement, while Martin

  received a copy of the Briefing Book prior to his October 28, 2017 statement.

         248.    Defendants' October 26 and 28, 2017 public statements regarding the Ozanimod

  NDA did not mention the Metabolite, Celgene's question in the Briefing Book whether "the

  proposed nonclinical package, including the evaluation of major metabolites, is adequate" in light

  of the deficient exposure multiple data, or the risks the deficient exposure multiple data posed to

  Celgene's NDA timeline or the likelihood of FDA approval.           Critically, at the time of the

  October 26 and October 28, 2017 statements, Defendants Curran, Martin and Celgene did not

  know whether the exposure multiple data provided in the Briefing Book would be acceptable to

  the FDA. Given Curran's and Martin's knowledge of these undisclosed negative facts, Celgene's

  October 26, 2017 statements and Martin's October 28, 2017 statement were made with actual

  knowledge that the statements were materially false or misleading when made, and, to the extent

  necessary, any purported cautionary language that accompanied these statements was not

  meaningful.

         249.    As discussed above, internal communications confirm that Defendants were

  motivated to conceal the risks the deficient exposure multiple data posed to the Ozanimod NDA

  in their statements on October 26 and 28, 2017 because they sought to reassure investors fol lowing

  Celgene's announcement on October 19, 2017 that it was scrapping development of GED-0301

  and its dramatic reduction in its Otezla sales guidance on October 26, 2017, which put additional

  pressure on Celgene to deliver on Ozanimod given the looming loss of Revlimid revenue. Market

  commentary following Defendants ' October 26 and 28, 2017 statements demonstrates that




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  investors were reassured by Defendants' statements touting the Phase III Ozanimod clinical study

  data and time line for submission of the Ozanimod NOA.

          250.   After submitting the Briefing Book, Defendants continued to flag deficiencies

  regarding the safety testing for the Metabolite. For example, in a "Pre-NOA Mtg Prep" document

  circulated by Kao to Martin, Saillot, Tran and others 'on November 9, 2017, the Ozanimod team

  acknowledged that the exposure multiples were "insufficient" because they were below the 1.0

  threshold.

          251.   In a November I 0, 2017 email to Meier-Davis, which was forwarded to Martin,

  Saillot, and Tran, among others, Jacobson-Kram identified the " issues" he believed the FDA would

  raise with respect to the Ozanimod NOA submission , describing these issues as " the major push

  back that you can expect from FDA." Among the issues that Jacobson-Kram identified was that

  while " RP 112273 represents the overwhelming majority of drug related material and is responsible

  for the overwhelming majority of pharmacological activity," Celgene "has less than the clinical

  exposure for RPI 12273" for the "rat carcinogenicity study and the segment 2 reproductive

  toxicology studies." Jacobson-Kram noted that the FDA was likely to question whether the

  Metabolite has been "adequately tested in these studies[.]" Jacobson-Kram again referenced the

  possibility that Ozanimod could be considered a prodrug and the possibility that the FDA would

  require Celgene to "dose animals with RPI 12273," i.e., conduct new toxicology studies.

         252.    Dr. MacDonald similarly alerted Celgene to shortcomings in the non-clinical

  portions of its NOA submission. On November 13, 2017, Saillot sent MacDonald a " run-down of

  the ongoing activities" regarding the NOA submission, the Briefing Book, and the draft Toxicology

  Written Summary for the NOA, seeking MacDonald's input. As Saillot explained, " the team is

  struggling with the best way to address various exposure multiples ... as a lot of the work was done



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  prior to the identification of the new metabolite." According to Saillot, the "bottomline [sic] ...

  will be whether FDA buys our 'total active structurally similar' approach... and if not and they

  require more tox work, whether a post marketing commitment will suffice."

         253.    The "total active structurally similar" (also referred to as "total agonist'') approach

  referred to Celgene's attempt to add up the exposures of multiple compounds, including 273, in

  order to reach a combined exposure multiple above the FDA-required threshold of 1.0 for the

  toxicology studies- because the exposure of 273 alone did not satisfy the 1.0 threshold. Celgene

  had previously floated this concept to Jacobson-Kram on November 8, 2017, who indicated he

  was "not sure FDA will accept this argument," noting he had "never seen this done before." As

  Dr. Guengerich explains, this approach "is flawed because there is insufficient evidence that any

  potential toxicity is related to the agonist properties [meaning binding to and activating a receptor

  to cause a biological response] of the drug or its metabolites." Therefore, the approach "is

  insufficient to evaluate toxicokinetic data for purposes of a safety assessment and inconsistent with

  FDA guidance and industry standards, customs, and practices because the pharmacological activity

  of a metabolite may be totally irrelevant to toxicity issues."

         254.    On November 19, 2017, MacDonald replied to Saillot with his comments.

  MacDonald emphasized that " [a] clear acknowledgement" by Celgene that " [t]he late discovery

  of RP 112273 has had an impact on the non-clinical safety evaluation of ozanimod" and "the

  resulting deficiencies in the [NOA submission] will enhance the credibility of the submission."

  With respect to Celgene's claim in the Briefing Book that the non-clinical safety multiples for the

  Metabolite "are mostly above 1, and approach I..., which would be consistent with the ICH M3

  guidance," MacDonald stated: "This is the kind of argument that is a 'red flag' to me .... The simple




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  fact is that you have no exposure multiple to this major metabolite and you should simply

  acknowledge that."

          255.   As MacDonald explained at his deposition, Celgene's representation to the FDA

  that the exposure multiples for the Metabolite were adequate was "the sort of argument that [FDA]

  reviewers respond to and that diminishes the credibility of the argument that the sponsor is trying

  to make, because the data simply doesn't support the statement." MacDonald further testified:

  "[T]he data they [i.e., Celgene] have, the tables that they presented for review that are in the NDA

  show quite clearly that there is no exposure multiple. It's not greater than one to this major

  metabolite in any of the species frankly... and so you just acknowledge that.... [T]he red flag is

  that you're not trying to deal directly with the data."

         256.    Saillot forwarded MacDonald's comments to Martin on November 19, 2017,

  expressing that he was "very concerned about the approvability of the NDA unless these issues

  [regarding exposure multiples] are addressed."

         257.    Another Celgene consultant, Dr. Marcie Wood, also flagged the deficient exposure

  multiple data. In a November 23, 2017 emai l that was sent to Martin, Wood stated: "I hope that

  the [FDA] will not be looking for exposure multiples at NOAELs, otherwise none of the tax studies

  meet this requirement." As discussed above, Celgene calculated the exposure multiple for certain

  studies using a dose at or above the MTD- the maximum tolerated dose, which exceeds the

  NOAELdose.

         258.    Consistent with the warnings from MacDonald and Jacobson-Kram about the

  FDA's potential rejection of Celgene's approach for dealing with the exposure multiple for the

  Metabolite, Lamb acknowledged on November 21, 2017 that "[i]f FDA does not agree with this

  [total agonist] approach, RP 112273 will not be qualified across all tax studies." In other words,



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  the FD A's rejection of this approach would mean that the non-clinical Metabolite data would be

  insufficient.

          259.    As discussed above, Defendants also acknowledged the strong likelihood that the

  FDA would reject Celgene' s Briefing Book approach, as reflected in internal com munications

  among Curran, Martin and Smith considering the use of a PRY. On November 20, 2017, Saillot

  responded to Martin, Curran, and Lamb regarding Lamb's PRY proposal, stating that a PRY was

  not a viable option to address the non-clinical deficiencies in the NDA: "I believe the highest risk

  is in our non-clinical safety argument (particularly the carcinogenicity). I am not sure how a

  priority review would best play in that scenario ...."

                  11.    The FDA Rejected Celgene's Briefing Book Proposal to Submit
                         Incomplete Data for the Metabolite

          260.    The FDA responded to Celgene's Briefing Book in the FDA's Preliminary Meeting

  Comments on November 2 1, 2017. In the Preliminary Meeting Comments, the FDA cited to its

  guidance on non-clinical toxicology studies and informed Celgene that it did not agree with

  Celgene's proposed non-clinical data package.            The FDA rejected Celgene's "total agonist"

  approach to measuring exposure to the Metabolite and stated that the NDA submission needed to

  include actual data, as opposed to estimates. The FDA also informed Celgene that it needed to

  demonstrate safety multiples of 1.0 or greater for the Metabolite in non-clinical studies.

          26 1.   Specifically, in response to Question 3, which asked, "Does the Agency agree that

  the proposed nonclinical package, includ ing the evaluation of major metabolites, is adequate to

  support the filing for the registration of Ozanimod?", the FDA did not agree. The FDA stated:

          You should ensure that all circulating major human metabolites (i.e., 2: I 0% of total
          circulating drug related material) have been adequately assessed in the nonclinical
          studies (see ICH M3(R2), January 20 10; ICH M3(R2) Q&A, February 20 13).
          Interspecies comparisons should be made based on plasma exposure data for each



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         major metabolite, not the sum of exposures for parent compound and active
         metabolites ("total agonist")

         Metabolite RP 11 2273 is stated to account for 89% of total drug-related exposure in
         humans; therefore you will need to ensure that adequate exposure to RP 112273 was
         achieved in a full battery of nonclinical studies, including chronic toxicity,
         reproductive and developmental , and carcinogenicity studies, in two species. We
         note that most of the plasma exposure data in animals for metabolite RP 112273 are
         estimated.... You will need to provide toxicokinetic data to document that
         RPI 12273 has been adequately assessed in the nonclinical stud ies. (See ICH
         M3(R2), January 20 10 and ICH M3(R2) Q&A, February 2013.)

         The adequacy of the data will be a matter of review.

         262.    Significantly, in rejecting Celgene's reliance on estimated Metabolite exposure and

  total agonist approach, the FDA cited the same FDA Gu idance calling for safety multiples of 1.0

  or greater when a metabolite composes the majority of total human exposure flagged by

  Jacobson-Kram at the July 20, 2017 meeting.

         263.    With respect to the c linical data, the FDA explicitly rejected Celgene's proposal to

  submit additional LTS data during the review period. The FDA informed Celgene that it needed

  to submit "a complete clinical pharmacology package" including all LTS data "at the time of the

  NOA submission." The FDA instructed Celgene that if it intended to use retained plasma samples

  from the Phase l studies, Celgene would need to submit evidence demonstrating the stability of

  the Metabolite in human plasma.

         264.    Specifically, in response to Question 4, which asked, "Does the Agency agree that

  the overall proposed clinical pharmacology package, including the additional information planned

  to be provided early in the NOA review, is acceptable and support the filing for the registratio n of

  Ozanimod?", the FDA explicitly responded: "No. A complete c linical pharmacology package,

  including all relevant PK [pharmacokinetic] and PD [pharmacodynamics] studies ... is required at

  the time of submission." Consistent with its March 2, 2017 correspondence to Celgene stating that


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  "[f]ull Clinical Study Reports are needed ... at the time of the NOA submission," the FDA stated

  that "[[Juli [Clinical Study Reports] (including the bioanalytical and validation reports) for [the

  1001 Study] and all relevant clinical PK and PD studies are needed at the time of the NOA

  submission." The "bioanalytical and validation reports" that the FDA referenced in its response

  to Question 4 included LTS data.

         265.    In Response to Question 5, which asked, "Does the Agency agree with Celgene's

  proposed timing for the bioanalytical data package for the recently-identified major and active

  metabolite RP 112273?," the FDA stated: "Include the Validation and Analytical Study Reports for

  all major active metabolites in the CSRs [clinical study reports] for all relevant PK and PD studies.

  These reports must be available at the time of the NOA submission .... If you used retained plasma

  samples to quantify RPI 12273 in the relevant Phase 1 studies, you will need to provide evidence

  that demonstrates the stability of RP I I 2273 in human plasma at the time of the NDA submission."

         266.    The FDA's Preliminary Meeting Comments were reviewed by Martin, Smith,

  Curran, Lamb, Backstrom, Tran, and Saillot, among others.

         267.    After Celgene received the Preliminary Meeting Comments, internal concern

  regarding the Ozanimod NOA data grew even stronger. On November 21, 2017, Tran sent an

  email to Wilson with the subject "Urgent - FDA response," copying the FDA's response to

  Question 5. Wilson informed Tran that Celgene would "need between a year to almost 2 years to

  cover the studies" referenced in the FDA's Preliminary Meeting Comments, and sent Tran a table

  reflecting the LTS data that Celgene needed for each study.

         268.    By November 22, 2017-the day after receiving FDA's Preliminary Meeting

  Comments- Celgene decided to cancel its pre-NDA meeting with FDA, which "surprised" Lamb

  and which he described as a "significant mistake." As Lamb later stated to Smith and Alles: "It



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  was critical that we met with [the FDA] to establish the path forward and to get a sense of how

  much they might be wi lling to work with us."

         269.    Following the Preliminary Meeting Comments, Lamb began preparing an internal

  "tracker" memo addressing the gaps in the NOA and warning of the consequences of submitting

  incomplete data. On November 27, 2017, Lamb asked for Houn's input on the FDA's Preliminary

  Meeting Comments to prepare this memo, noting that in his view, the "[f]eedback is clear." Houn

  responded that she hoped Celgene would "NOT submit without all the info as the risk for RTF is

  real. FDA has warned us. An RTF letter would state:' ... on Nov. 21, 2017, we stated you must

  submit these data with the NOA ... "' Houn recommended that Lamb's tracker memo "chang[e]

  'Potential RTF issue' to 'RTF issue"' because "[t]he FDA used 'must submit with the NDA' for

  the missing info." Houn added that "I know this is a company disappointment but hopefully we

  don't compound our situation." Houn testified that she also discussed her concerns about the NDA

  submission with Backstrom.

         270.    On November 27, 2017, Lamb sent the tracker memo to Curran and Backstrom,

  among others. The memo warned that the need to include the bioanalytical validation reports for

  all major metabolites in the PK and PD clinical study reports in the NOA at the time of

  submission- including LTS data for 273- was a potential "Refusal to File issue."

         271.    On November 28, 2017, Lamb emailed Backstrom regarding the tracker memo,

  copying Maria Palmisano ("Palmisano"), Celgene 's Corporate Vice President for Clinical

  Pharmacology, and Gondi Kumar ("Kumar"), Celgene's Corporate Vice President for Nonclinical

  Development, noting that he prepared it following "a number of discussions with Terrie [Curran]."

  Lamb flagged that the memo addressed "potential refusal to file concerns" for the Ozanimod NDA.

  In response, Backstrom stated that he "spoke to Scott [Smith] and informed him of our discussions



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  and of the effort to do a risk assessment with respect to quality of the application [and] potential

  RTF issues."    On November 28 and November 29, 2017, Kumar and Palmisano sent their

  comments to the tracker memo to Lamb and Backstrom.

          272.   Curran sent a copy of the tracker memo to Smith on November 28, 2017, stating:

  "I met with a small team this morning to review the FDAs feedback and will meet later today with

  the IIEC. Matt will be putting together a document [ ] to document the status of the submission,

  and mitigation of outstanding issues. I' ll update you in person."

          273.   In connection with his efforts to assess the risk of an RTF, Lamb emailed Saillot,

  Backstrom, Tran, and Kao on November 30, 2017, asking for more information about the "gap" in

  the LTS data. In response, Tran summarized the LTS information Wilson had previously provided

  him on November 22, 2017, explaining that Celgene needed more than one to two years of LTS

  data to cover the Phase I clinical studies and stating that this data was "required."

         274.    Following these discussions, Lamb sent an updated version of the tracker memo to

  Curran and Backstrom on December 1, 2017 removing the word "potential" before RTF. The

  tracker memo now flagged the incomplete LTS data as a "refuse to file issue."

         275.    Celgene's receipt the FDA's Preliminary Meeting Comments regarding the

  non-clinical data raised similar red flags that were in fact "expected" by Celgene's consultants.

  On November 22, 2017, Meier-Davis forwarded the FDA's Preliminary Meeting Comments to

  Jacobson-Kram, and asked: "Could you review and provide your opinion on what studies are at

  risk and whether we should initiate at risk?"         In his November 23, 2017 response, which

  Meier-Davis forwarded to Martin on November 26, 2017, Jacobson-Kram wrote: "As I pretty

  much expected, they didn't go for the 'total agonist' concept. The major message appears to be




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  that they want actual data for metabolites, not estimated levels. So as we expected, the major

  challenge will be the rat care study."

          276.   MacDonald similarly described the FDA's Preliminary Meeting Comments as

  "expected" and "ominous." On November 29, 2017, Saillot provided MacDonald with the text of

  the FDA's response to Question 3. MacDonald responded that it was "[a]n expected response from

  the Agency," adding that [t]he ominous wording I see is that the metabolite will be 'a review

  issue.'" As MacDonald explained at his deposition, the FD A's use of "review issue" was ominous

  because "[a] review issue is FDA code word or code phrase for we don't agree with your position,

  and unless you give us something different, we are not going to accept your argument." Thus,

  "they [Celgene] were going to have a difficult time convincing the agency with the existing data

  that they had adequately characterized and complied with regulatory expectations."

         277.    On November 30, 2017, Saillot sent MacDonald a draft of the Nonclinical

  Overview section of the NDA filing for his review. MacDonald sent Saillot his comments on

  December 3, 2017, stating the following in the cover email: "The document seems to suggest that

  everything is OK and the [compound] and metabolites have been well characterized. The data

  simply don't support that statement and I think it will elicit a negative response in the mind of at

  least the [FDA] pharm-tox reviewer."        MacDonald specifically took issue with Celgene's

  suggestion that the Metabolite had been adequately assessed in non-clinical testing, stating: "this

  metabolite has not been adequately evaluated by conventional rules of engagement and I believe

  this will elicit a negative response." MacDonald explained that the Metabolite had not been

  qualified due to the inadequate exposure multiples for the toxicology studies and rejected

  Celgene's representation to the contrary: "Not sure how you [can] say this [i.e. , that 273 was




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  "qualified relative to repeated dose toxicity"] as the E[xposure] M[ultiple] in the care and reprotox

  studies is < 1 - ?"

          278.     MacDonald testified that Celgene "clearly had a problem" because "[t]he issue of

  metabolites and differential exposures to metabolites, human specific metabolites is an area of

  intensive focus .... [s]o it was clear to me when I saw it, that is why I said they had a problem, I

  referred to that in several of my e-mails, vlhen I said they had a problem, it was recognizing the

  heightened awareness at the agency of this issue."

          279.     Saillot forwarded MacDonald's comments to Martin on December 3, 2017.

  MacDonald also forwarded his response to one of his colleagues, stating that "Jean-Louis [Saillot]

  and Receptos have a problem- but their FDA/draft NOA docs only show an 'arm-waving'

  approach to dealing with the problem. Not the sort of client we want to be spending this much

  time with!"

          280.     Internally, senior Celgene employees also flagged the non-clinical deficiencies in

  the NOA based on the FDA's Preliminary Meeting Comments. For example, on November 22,

  2017, Lamb sent the Preliminary Meeting Comments to Kumar, stating "FDA is not in agreement

  with the total agonist approach." Lamb asked, "[w] ith that in mind, is RPI 12273 qualified across

  all studies?" adding that the FDA " is expecting a complete nonclinical package with parent and

  each active [metabolite] qualified across the full battery of studies." Kumar responded, copying

  Backstrom, stating"[o]ne lingering concern I have is with 2-year rat carci study.. .. Retrospective

  analysis indicates 2273 exposure multiple is <1 at the high dose. In light of 2273 being an active

  metabolite, I worry [FDA] might renege on the agreed [study] design and say that we have not

  fully assessed the risk. Unfortunately, we don't have options here."




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                  12.    Defendants Knew or Recklessly Disregarded that Celgene Had
                         Submitted a Deficient NOA at the Time of the January and
                         February 2018 Ozanimod Misstatements

          281.    As discussed above, prior to December 2017, Defendants knew or recklessly

  disregarded extensive information showing that the Ozanimod NOA was incomplete and deficient

  with respect to both the clinical and non-clinical Metabolite data. Defendants had also been

  expressly warned that these deficiencies could result in a RTF. Notwithstanding this information,

  Celgene submitted the NOA on December 22, 2017.

          282.   On January 8, 2018, Celgene issued a press release attached to a Form 8-K.

  announcing its preliminary Q42017 and full-year 20 17 financial results. The press release touted

  the "FDA decision on the submission of an NOA for ozanimod in patients with relapsing multiple

  sclerosis (RMS)" as one of Celgene's "20 18 Expected Operational Milestones." On January 25,

  2018, Celgene filed another Form 8-K. attaching a press release stating that "a New Drug

  Application (NOA) was submitted with the FDA for Ozanimod in relapsing multiple sclerosis

  (RMS) based on data from the phase III RADIANCE™ Part B and SUNBEAMTM trials for

  evaluating Ozanimod in patients with RMS." On February 7, 2018, Celgene filed its 2017 Annual

  Report on a Form I 0-K ("2017 10-K.") again representing that "a New Drug Application (NOA)

  was submitted with the FDA for ozanimod in RMS based on data from the phase III trials

  evaluating ozanimod in patients with RMS." The 2017 10-K. also included a chart representing

  that the "Status" of Ozanimod for RMS was "Regulatory submission" and that Celgene "Entered

  current status" in the fourth quarter of 2017.

         283.    Consistent with Celgene's corporate process for public disclosures, the information

  regarding the Ozanimod NOA contained in Celgene's January and February 2018 statements was

  furnished by the I&I franchise, and reviewed by I&J President Curran. Pursuant to Celgene's

  disclosure process, Smith and Curran received and reviewed draft and proposed final versions of

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  Celgene 's January 8 and 25, 2018 Forms 8-K and the 2017 10-K. Curran also spoke about the

  Ozanimod NOA during the January 25, 20 I 8 earnings call.

          284.    At the time of the January and February 2018 statements, Defendants knew that

  Celgene had failed to provide to the FDA the necessary LTS data to validate the Metabolite samples

  from the clinical studies. In fact, Celgene submitted only 136 days of LTS data to the FDA for the

  Metabolite, which was insufficient to cover any of the samples from the 1904, 1905, and 1906

  Phase I clinical studies or the 201 B and 30 I Phase III clinical studies.

          285.   Defendants also knew that the non-clinical component of the NOA was deficient

  because the safety multiples from Celgene's toxicology studies were below the FDA-mandated

  threshold of 1.0 for disproportionate metabolites like 273. For example, the non-clinical safety

  multiple for the 2-year carcinogenicity study in rats was 0.8; the non-clinical safety multiple for

  the EFD study in rabbits was 0.03; and the non-clinical safety multiple for the EFD study in rats

  was 0.1.   Moreover, Celgene used dose levels in excess of the MTD in its 6-month mouse

  carcinogenicity study, which Dr. Guengerich explained invalidated this study. Finally, Celgene

  included estimated safety multiples, since it did not have actual, validated exposure data for certain

  of the animal species.

         286.    Despite knowing or recklessly disregarding that Celgene had submitted a deficient

  NOA and that a RTF was likely, Defendants failed to disclose any information concerning the

  Metabolite and the resulting deficiencies in the NOA, or the risks these deficiencies posed to the

  NOA.

         287.    Analysts commented on Celgene's NOA filing and projected that the NOA would

  be approved in 2018.




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         288.    Defendants ,,vere motivated to file the Ozanimod NDA despite its known

  deficiencies and the risk of Celgene receiving a RTF, for several reasons.

         289.    First, Defendants knew that generic versions of Gilenya, another treatment for MS,

  were set to hit the market in late 2019. If Ozanimod won FDA approval, it could compete directly

  with Gilenya before generic versions of Gilenya became available

         290.    Second, Defendants knew that Celgene needed the revenues from Ozanimod to

  replace the revenues that it would lose when Revlimid's patent protection expired.

         291.    Third, Celgene's announcement on October 19, 2017 that it was scrappmg

  development of GED-030 I and Celgene's dramatic reduction in its Otezla sales guidance on

  October 26, 2017 heightened the importance of Ozanimod to Celgene's future financial success.

         292.    Fourth, Celgene employees, including Defendants Martin, Smith, and Curran, were

  entitled to receive bonuses if the Ozanimod NDA was submitted before year-end 2017.

         293.    Houn's testimony confirms that Celgene's motivation to file the NDA by year-end

  2017 was not based on the sufficiency of the NOA.

                 13.    The FDA Issued the RTF Due to the Exact Metabolite Data Deficiencies
                        Defendants and the FDA Had Flagged Prior to the NDA Filing

         294.    On February 23, 2018, the FDA issued an RTF for the Ozanimod NDA submission.

  The significance of the ND A's deficiencies is demonstrated by the fact that the FDA rarely issues

  RTF letters, issuing just 45 RTFs in connection with NDA applications between December 31,

  2001 and February 28, 2018.

         295.   There were two bases for the RTF: deficiencies with the clinical data (incomplete

  LTS data) and deficiencies with the non-clinical data (inadequate safety multiples in toxicology

  studies). These were the same deficiencies that numerous Celgene employees identified before




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  the NDA was submitted, and that the FDA flagged in its Preliminary Meeting Comments. As the

  RTF stated:

         The long-term stability of RP 112273, a recently identified predominant and active
         metabolite of ozanimod, has not yet been established. Retained plasma samples
         were used to quantify RPI 12273 in studiesRPC0 l-20 1 (Part A and B), RPC0 l-30 1,
         RPC0 1-1904, RPC0 1-1906 and for most of subjects in study RPC0 1-1001. The
         samples were analyzed outside of the long-term stabil ity window (136 days) for
         RPl 12273 ...

         296.    The RTF further stated:

         RPI 12273, an active metabolite with potency at the SIP 1 and 5 receptors sim ilar
         to that of the parent compound, accounts for the majority (- 90%) of drug-related
         material in circulation in humans. Therefore, you will need to demonstrate that
         RP 112273 has been assessed in a standard battery of nonclinical studies.... Based
         on a preliminary examination, the available TK data are insufficient to allow a
         determination of the adequacy of the safety assessment for RP 112273.

         297.    On February 27, 2018, Celgene issued a press release, which stated it had received

  an RTF from the FDA concerning the Ozanimod NDA.

         298.   Post-RTF correspondence between Celgene and the FDA, including meeting

  minutes and written responses, confirms that the FDA found Celgene's safety multiples for several

  of the non-clinical toxicology studies to be inadequate. The minutes from Celgene's April 3, 2018

  Type A meeting with the FDA following the issuance of the RTF letter state that "the plasma

  RP 11 2273 exposures achieved in the mouse and rat carcinogenicity studies are not adequate, in

  the absence of data indicating higher RP 11 2273 exposures would not be tolerated or feasible to

  achieve." In its November 9, 2018 written responses to Celgene's August 29, 20 I 8 meeting

  request, the FDA stated: "The preliminary data summarized in... the briefing package suggest

  there was insufficient exposure to both [the Metabolite and CC l 084037] metabolites in the

  embryofetal development (EFD) and carcinogenicity stud ies in rat."




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          299.   With respect to the incomplete LTS data, Celgene documents post-dating the

  Company's receipt of the RTF confirm that Defendants knew that the NDA was deficient at the

  time it was submitted in December 2017 because of the missing LTS data. In a February 27, 2018

  email to Backstrom and Palmisano, Lamb re-sent Tran's chart summarizing the incomplete LTS

  data from November 30, 2017, stating: "Some of the studies are complete but we don't have the

  required sample stability for the RPI 12273 metabolite. Please see the below table ... " In the same

  email, Lamb confirmed that the FDA never agreed to accept an incomplete NDA and allow

  Celgene to supplement the NDA with additional LTS data after the December 2017 submission.

  Lamb stated: "FDA didn't agree to anything and they stated repeatedly that the CSRs [clinical

  study reports], BARs and stability data needed to be in the original submission. Even in a

  subsequent email exchange FDA stated reports needed to be submitted at[] the time of the NDA

  submission (not within 30 days which we proposed via email)."

         300.    Tran corroborated Lamb's statements in a February 27, 2018 email to Palmisano.

  Tran wrote: "[T]he FDA wanted LTS data and would not accept those during the NDA review. In

  the pre-NDA feedback, the FDA specifically requested LTS data for studies 1001 (PK/PD in RMS),

  1904 (hepatic impairment) and 1906 (renal impairment)." Palmisano forwarded Tran's email to

  Rupert Vessey, Celgene's president of Research and Early Development. Vessey responded that

  going forward, "you, Gondi [Kumar] and I must approve of anything that is sent in. Philippe

  [Martin] must not be allowed to be the final decision maker as he was in the case of not proceeding

  with the preNDA meeting." Palmisano agreed.

         301.    On March 15, 2018, Michael Faletto, Celgene's Executive Director of Regulatory

  Knowledge and Insights asked Lamb to speak at an upcoming Celgene Regulatory Affairs meeting

 regarding the Ozanimod RTF. Lamb indicated he would be "happy to speak to ozanimod and the



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